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                          EXHIBIT 6
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                          Appendix H




                                                                     Exhibit 6
                                                                     Page 919
                   Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20718 Page 3 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
Claim 2
A circuit for encoding applied video signals                 See, e.g.,
that comprise successive frames, where
each frame is divided into blocks, including                 H.261 Document #66:
means for encoding the blocks of some of
said frames by developing for each block of                  “In order to achieve very low bit rates for the transmission of television sequences, it is
such frames (a) an approximated version of                   necessary to reduce the number of transmitted fields. At the receiver the skipped fields
said block derived from an approximated                      have to be interpolated with respect to motion of objects to avoid blurring in the
version of said block developed for a                        reconstructed fields. This contribution summarizes the current state of a Motion
previous frame, and (b) a code which                         Compensating Field Interpolation (MCI) Algorithm, that is under development at the
represents the deviation of said block from                  University of Hannover.” [Page 1.]
said approximated version of said block,
the improvement comprising:                                  See also “To determine the displacement vectors for two successive transmitted fields of
                                                             a differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for


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                                                                                                                                                                    Exhibit 6
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                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: input, displacement estimator, change detector, and all connections;
                                                             and all text describing the structures.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “Figure 1 shows a basic block diagram of the coder and decoder with
                                                             movement compensation. The structure of this coder is identical to the agreed proposal


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 921
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CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                   JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                   MPT0002723]
                                                             of the COST 211 bis simulation subgroup. At the input side after the scan conversion
                                                             (SC) there is the motion analyzer MA determining displacement vectors from the
                                                             original pictures om and om-n (m is the frame number and the delay time of n*t
                                                             corresponds to the delay time with the DPCM loop, n is the number of skipped fields +1
                                                             and t is the field period). The estimator E is controlled by the output signal of MA and
                                                             calculates an estimated picture sm for prediction from the previous reconstructed picture
                                                             Rm-n. In the DPCM loop the residual prediction errors are transformed (DCT),
                                                             quantized (Q) and coded for transmission, also the invers transform (IDCT) is
                                                             performed in order to generate the reconstructed picture in the time domain. After
                                                             variable length coding (VLC) and buffering (B) the quantized prediction error signal,
                                                             the classification map and control bits of the quantizer and the overhead information for
                                                             the changed areas (moved blocks or objects) with their corresponding movement
                                                             vectors are multiplexed (MUX) before transmission. Displacement vectors are only
                                                             calculated from the luminance signal, the chrominance vectors are extrapolated
                                                             luminance vectors.” [Pages 1-2.]

                                                             See also “Movement compensation by block matching is performed by subdividing the
                                                             fields to be coded in n*n blocks (here n=8 and n=16 are considered). For each block a
                                                             displacement vector is calculated and, if this vector is unequal zero, this vector has to be
                                                             coded and transmitted. For the comparison made displacement vectors are found by
                                                             searching the minimum of the absolute value distance function (window = n*n, full
                                                             search). [Page 3-4.]




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                                                                                                                                                                    Exhibit 6
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                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                  JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             See also “Object matching can be considered as an extension of block matching.
                                                             Adjacent changed blocks (also 8*8 and 16*16 are considered) are concatenated to
                                                             changed areas, which, under ideal conditions (stationary background, no occlusions,
                                                             constant illumination) represent one moving object. For this object only one
                                                             representative movement vector is calculated based on a movement model and
                                                             transmitted. The non ideal behavior of natural scenes led us to calculate one or two
                                                             models in order to solve the problems of occlusions and changing shape.” [Page 4.]

                                                             See also Figures 1: sc n-tt, MA, CT, P, n-tf Q ICT VLC, B, and connections; and 7
                                                             through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1,
                                                                       4, 5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-
                                                                       MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-
                                                                       DEFS-MPT0002671] at 1-8; #78 [DEFS-MPT0002784-DEFS-MPT0002745] at
                                                                       1, 2, 3, 5, Annex 1, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at
                                                                       1, 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 4; #299 [DEFS-MPT0004149-


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                                                                                                                                                                    Exhibit 6
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4,958,226                                                                                          AND
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                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                               JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                                   DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                   at 1, 7, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R
                                                                   [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                                   MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of
                                                                   Annex 4, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1,
                                                                   9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33.
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000681-DEFS-MPT0000683, DEFS-MPT0000643, DEFS-MPT0000644,
                                                                       DEFS-MPT0000650, DEFS-MPT0000651, DEFS-MPT0000655, DEFS-
                                                                       MPT0000661-62, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                                       MPT0000731-1024, DEFS-MPT0000731, DEFS-MPT0000747-1024, DEFS-
                                                                       MPT0000747]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                                       MPT0001027-52]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]



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                                                                                                                                                                    Exhibit 6
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                   Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20723 Page 8 of 208
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                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                x Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                   MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                   MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031-32.
second means for approximating the blocks                    See, e.g.,
of those of said frames that are to be
interpolated by combining approximated                       H.261 Document #66:
versions of said blocks in selected ones of
the frames that are encoded in said means                    “To determine the displacement vectors for two successive transmitted fields of a
for encoding; and                                            differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the


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                                                                                                                                                                    Exhibit 6
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4,958,226                                                                                      AND
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                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: input, displacement estimator, change detector, motion compensated
                                                             interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “The results shown in Figure 2 through 5 are not surprising. It’s quite clear
                                                             that block matching with 8*8 blocks yields a higher gain than with 16*16 blocks due to
                                                             the fact of a more precise circumscribing of the moving areas. On the other hand, block
                                                             matching with 16*16 block needs approximately one third of the amount of overhead


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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20725 Page 10 of 208
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                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                 JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             bits as compared to 8*8 blocks.” [Page 7.]

                                                             See also “For block matching the amount of overhead bits has been calculated as
                                                             follows: 1 bit per block moved-unmoved discrimination, 2*4 bits per moved block for
                                                             the two (integer) components of the displacement vector (this allows to code
                                                             displacements from -8…+8 pixels). The luminance signal resolution mentioned above
                                                             gives theoretical maximum values (in the case of a completely moved field) of 2592 bits
                                                             for 16*16 blocks and of 10368 bits for 8*8 blocks. Using the correct COST format the
                                                             se figures will be 3645 and 14580 bits. Having in mind the amount of bits per coded
                                                             field allowed (some 25000 bits when coding at 320 kbit/s), a look these figures is very
                                                             interesting.” [Page 7.]

                                                             See also Figures 1: sc n-tt, MA, CT, P, n-tf Q ICT VLC, B, and connections; and 7
                                                             through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,5;
                                                                       #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-
                                                                       MPT0002784-DEFS-MPT0002745] at 2, 3, 5, Annex 1; #81 [DEFS-


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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20726 Page 11 of 208
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                                                                                              JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                              MPT0002723]
                                                                   MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-
                                                                   MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1,
                                                                   2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                                   MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                                   MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-
                                                                   DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-
                                                                   MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-
                                                                   MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33.
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000684-688, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-
                                                                       MPT0000650, DEFS-MPT0000651, DEFS-MPT0000653, DEFS-MPT0000655,
                                                                       DEFS-MPT0000661-62, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                                       MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805, DEFS-MPT0000756,
                                                                       DEFS-MPT0000824, DEFS-MPT0000754-1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                                       MPT0001027-52]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,


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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20727 Page 12 of 208
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                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031-32.
third means responsive to said second                        See, e.g.,
means and to said frames to be interpolated
for developing code that corresponds to                      H.261 Document #66:
those pels in blocks approximated by said
second means that differ from                                “To determine the displacement vectors for two successive transmitted fields of a
corresponding pels in said frames to be                      differential displacement estimation algorithm developed by Bierling [2] is applied.
interpolated by greater than a preselected                   Compared to other known algorithms the stability behavior and the precision of estimate
threshold.                                                   is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 929
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20728 Page 13 of 208
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                                                                                               JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: motion compensated interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “First, the big amount of bits needed for transmission of the displacement
                                                             vectors is no more available for coding the residual prediction errors. Second, and more
                                                             important, block matching works with integer displacement vectors; this implies the
                                                             introduction of artefacts [sic] at the blockborders in the estimated picture and, due to the


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 930
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20729 Page 14 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                        FRG
                                                                                                   JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                   MPT0002723]
                                                             limited amount of bits available, in the reconstructed picture. These artefacts [sic]
                                                             (mostly short horizontally and vertically oriented line pieces) are distributed all over the
                                                             moving area. The principle of object matching allows such artefacts [sic] only at the
                                                             borders of the moving area, not inside. Experiments have shown, coding with different
                                                             blocksize for movement compensation and for block quantizing (e.g.8*8 for block
                                                             matching, 16*16 for transform coding) gives worse results. Object matching allows
                                                             different blocksizes. Nevertheless we found that object matching with 16*16
                                                             approximation of the contour of moving areas and 16*16 block quantizing gave the best
                                                             subjective impression of the reconstructed pictures. Also block matching and block
                                                             quantizing with common blocksize 16*16 is superior to common blocksize 8*8. [Pages
                                                             8-9.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in
                                                             order to display smooth movements on the receiver side.” [Page 11.]




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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20730 Page 15 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                            AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                                JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                             See also Figures 1: CT, Q, VLC, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,
                                                                       5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-
                                                                       MPT0002784-DEFS-MPT0002745] at 2, 3, 5, Annex 1, Annex 2; #81 [DEFS-
                                                                       MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-
                                                                       MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1,
                                                                       2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                                       MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                                       MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-
                                                                       DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-
                                                                       MPT0002971] at 3, 11, 3 of Annex 4; #317R [DEFS-MPT0004237-DEFS-
                                                                       MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000684-688, DEFS-
                                                                       MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-
                                                                       62, DEFS-MPT0000729, DEFS-MPT0000754-1024]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 932
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20731 Page 16 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031-32.
Claim 3
The circuit of claim 2 wherein said code                     See, e.g.,
developed for a pel by said third means
represents the difference between the value                  “To determine the displacement vectors for two successive transmitted fields of a
of said pel and the value of said pel                        differential displacement estimation algorithm developed by Bierling [2] is applied.
approximated by said second means.                           Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 933
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20732 Page 17 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                              AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1.

                                                             See also,

                                                              “Movement compensated prediction and interpolation is a key element of source
                                                             coding of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “First, the big amount of bits needed for transmission of the displacement
                                                             vectors is no more available for coding the residual prediction errors. Second, and more


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 934
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20733 Page 18 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                     JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                     MPT0002723]
                                                             important, block matching works with integer displacement vectors; this implies the
                                                             introduction of artefacts [sic] at the blockborders in the estimated picture and, due to the
                                                             limited amount of bits available, in the reconstructed picture. These artefacts [sic]
                                                             (mostly short horizontally and vertically oriented line pieces) are distributed all over the
                                                             moving area. The principle of object matching allows such artefacts [sic] only at the
                                                             borders of the moving area, not inside. Experiments have shown, coding with different
                                                             blocksize for movement compensation and for block quantizing (e.g.8*8 for block
                                                             matching, 16*16 for transform coding) gives worse results. Object matching allows
                                                             different blocksizes. Nevertheless we found that object matching with 16*16
                                                             approximation of the contour of moving areas and 16*16 block quantizing gave the best
                                                             subjective impression of the reconstructed pictures. Also block matching and block
                                                             quantizing with common blocksize 16*16 is superior to common blocksize 8*8. [Pages
                                                             8-9.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 935
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20734 Page 19 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                               JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also Figures 1 through 8.

                                                             See also one or more of the following references, in combination with Document #78, to
                                                             show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 4, 5; #51 at 1, 2, 3; #66 at 1, 2;
                                                                       #81 at 1, 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex
                                                                       1, 12; #54R at 1, 6, 7, 9; #74R at 1, 3, 5, 6, 7, 11; #103R at 3, 11, 3 of Annex 4;
                                                                       #317R at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000684-688, DEFS-
                                                                       MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-
                                                                       62, DEFS-MPT0000729]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]

Claim 4



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 936
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20735 Page 20 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                       AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                FRG
                                                                                            JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                            MPT0002723]
The circuit of claim 2 wherein the frames                    See, e.g.,
selected for combining in said second
means include a frame encoded in said first                  H.261 Document #66:
means that precedes the frame
approximated in said second means and a                      “To determine the displacement vectors for two successive transmitted fields of a
frame encoded in said first means that                       differential displacement estimation algorithm developed by Bierling [2] is applied.
succeeds the frame approximated in said                      Compared to other known algorithms the stability behavior and the precision of estimate
means.                                                       is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 937
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20736 Page 21 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                                JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: input, motion compensated interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Figure 1 shows a basic block diagram of the coder and decoder with movement
                                                             compensation. The structure of this coder is identical to the agreed proposal of the
                                                             COST 211 bis simulation subgroup. At the input side after the scan conversion (SC)
                                                             there is the motion analyzer MA determining displacement vectors from the original
                                                             pictures om and om-n (m is the frame number and the delay time of n*t corresponds to the
                                                             delay time with the DPCM loop, n is the number of skipped fields +1 and t is the field
                                                             period). The estimator E is controlled by the output signal of MA and calculates an
                                                             estimated picture sm for prediction from the previous reconstructed picture Rm-n. In the
                                                             DPCM loop the residual prediction errors are transformed (DCT), quantized (Q) and
                                                             coded for transmission, also the inverse transform (IDCT) is performed in order to
                                                             generate the reconstructed picture in the time domain. After variable length coding
                                                             (VLC) and buffering (B) the quantized prediction error signal, the classification map
                                                             and control bits of the quantizer and the overhead information for the changed areas
                                                             (moved blocks or objects) with their corresponding movement vectors are multiplexed
                                                             (MUX) before transmission. Displacement vectors are only calculated from the
                                                             luminance signal, the chrominance vectors are extrapolated luminance vectors.” [Pages




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 938
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20737 Page 22 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                       AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                FRG
                                                                                            JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                            MPT0002723]
                                                             1-2.]

                                                             See also “Movement compensation by block matching is performed by subdividing the
                                                             fields to be coded in n*n blocks (here n=8 and n=16 are considered). For each block a
                                                             displacement vector is calculated and, if this vector is unequal zero, this vector has to be
                                                             coded and transmitted. For the comparison made displacement vectors are found by
                                                             searching the minimum of the absolute value distance function (window = n*n, full
                                                             search). [Page 3-4.]

                                                             See also “Object matching can be considered as an extension of block matching.
                                                             Adjacent changed blocks (also 8*8 and 16*16 are considered) are concatenated to
                                                             changed areas, which, under ideal conditions (stationary background, no occlusions,
                                                             constant illumination) represent one moving object. For this object only one
                                                             representative movement vector is calculated based on a movement model and
                                                             transmitted. The non ideal behavior of natural scenes led us to calculate one or two
                                                             models in order to solve the problems of occlusions and changing shape.” [Page 4.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 939
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20738 Page 23 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                              AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                  JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also “A coding scheme with block matching and block quantizing should use the
                                                             same blocksize for movement compensation and quantizing, and a bilinear interpolating
                                                             calculation of the estimated picture gives better picture quality. Otherwise high
                                                             frequency artefacts [sic] are introduced when the transmission rate is limited. These
                                                             artefacts [sic] are considerably lower with object matching.” [Page 11.]

                                                             See also Figures 1: INT, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1,4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-MPT0002784-DEFS-
                                                                       MPT0002745] at 3, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at
                                                                       1, 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 940
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20739 Page 24 of 208
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                                JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                                   DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                   at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,
                                                                   6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11;
                                                                   #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of Annex 4;
                                                                   #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex
                                                                   1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000643, DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-
                                                                       62, DEFS-MPT0000729]
                                                                  x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                                       MPT0001027-52]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000032-33.


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 941
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20740 Page 25 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
Claim 5
The circuit of claim 4 wherein said                          See, e.g.,
combining includes developing anticipated
versions of said blocks.                                      “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 942
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20741 Page 26 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                                JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1.

                                                             See also,

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “The results shown in Figure 2 through 5 are not surprising. It’s quite clear
                                                             that block matching with 8*8 blocks yields a higher gain than with 16*16 blocks due to
                                                             the fact of a more precise circumscribing of the moving areas. On the other hand, block
                                                             matching with 16*16 block needs approximately one third of the amount of overhead
                                                             bits as compared to 8*8 blocks.” [Page 7.]

                                                             See also “For block matching the amount of overhead bits has been calculated as
                                                             follows: 1 bit per block moved-unmoved discrimination, 2*4 bits per moved block for
                                                             the two (integer) components of the displacement vector (this allows to code
                                                             displacements from -8…+8 pixels). The luminance signal resolution mentioned above
                                                             gives theoretical maximum values (in the case of a completely moved field) of 2592 bits


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 943
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20742 Page 27 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                             AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                 JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             for 16*16 blocks and of 10368 bits for 8*8 blocks. Using the correct COST format the
                                                             se figures will be 3645 and 14580 bits. Having in mind the amount of bits per coded
                                                             field allowed (some 25000 bits when coding at 320 kbit/s), a look these figures is very
                                                             interesting.” [Page 7.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also “A coding scheme with block matching and block quantizing should use the
                                                             same blocksize for movement compensation and quantizing, and a bilinear interpolating
                                                             calculation of the estimated picture gives better picture quality. Otherwise high
                                                             frequency artefacts [sic] are introduced when the transmission rate is limited. These
                                                             artefacts [sic] are considerably lower with object matching.” [Page 11.]




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 944
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20743 Page 28 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                           JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                             See also Figures 1 through 8.

                                                             See also one or more of the following references, in combination to show obviousness
                                                             of this element:

                                                                  x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 1, 4, 5; #51 at 1, 2, 3; #66 at 1,
                                                                       2; #81 at 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex
                                                                       1, 12; #54R at 1, 6, 7, 9; #74R at 1, 3, 5, 6, 7, 11; #103R at 10, 3, 11, 3 of Annex
                                                                       4; #317R at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000643, DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-
                                                                       62, DEFS-MPT0000668, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-
                                                                       MPT0000805]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                                       MPT0001027-1052]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]

Claim 6
The circuit of claim 2 wherein a set                         See, e.g.,
proportion of frames of said applied video



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 945
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20744 Page 29 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
signals are interpolated.                                    H.261 Document #66:

                                                             “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 946
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20745 Page 30 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                            AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                     FRG
                                                                                                JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                             See also Figure 1: motion compensating interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “For block matching the amount of overhead bits has been calculated as
                                                             follows: 1 bit per block moved-unmoved discrimination, 2*4 bits per moved block for
                                                             the two (integer) components of the displacement vector (this allows to code
                                                             displacements from -8…+8 pixels). The luminance signal resolution mentioned above
                                                             gives theoretical maximum values (in the case of a completely moved field) of 2592 bits
                                                             for 16*16 blocks and of 10368 bits for 8*8 blocks. Using the correct COST format the
                                                             se figures will be 3645 and 14580 bits. Having in mind the amount of bits per coded
                                                             field allowed (some 25000 bits when coding at 320 kbit/s), a look these figures is very
                                                             interesting.” [Page 7.]

                                                             See also “First, the big amount of bits needed for transmission of the displacement
                                                             vectors is no more available for coding the residual prediction errors. Second, and more
                                                             important, block matching works with integer displacement vectors; this implies the


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 947
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Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                     JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                     MPT0002723]
                                                             introduction of artefacts [sic] at the blockborders in the estimated picture and, due to the
                                                             limited amount of bits available, in the reconstructed picture. These artefacts [sic]
                                                             (mostly short horizontally and vertically oriented line pieces) are distributed all over the
                                                             moving area. The principle of object matching allows such artefacts [sic] only at the
                                                             borders of the moving area, not inside. Experiments have shown, coding with different
                                                             blocksize for movement compensation and for block quantizing (e.g.8*8 for block
                                                             matching, 16*16 for transform coding) gives worse results. Object matching allows
                                                             different blocksizes. Nevertheless we found that object matching with 16*16
                                                             approximation of the contour of moving areas and 16*16 block quantizing gave the best
                                                             subjective impression of the reconstructed pictures. Also block matching and block
                                                             quantizing with common blocksize 16*16 is superior to common blocksize 8*8. [Pages
                                                             8-9.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 948
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4,958,226                                                                                           AND
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                                                                                                    FRG
                                                                                               JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also Figures 1: INT, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-MPT0002784-DEFS-
                                                                       MPT0002745] at 2, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at
                                                                       2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                                       DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                       at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,
                                                                       6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11;
                                                                       #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11; #317R [DEFS-
                                                                       MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5,
                                                                       29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000643, DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 949
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20748 Page 33 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   62, DEFS-MPT0000668]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       534; DEFS-MPT0007310-11] at DEFS-MPT0009243, 9241.
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 33.
Claim 7
The circuit of claim 6 wherein said                          See, e.g.,
proportion is approximately one half.
                                                             H.261 Document #66:

                                                             “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 950
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20749 Page 34 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                     FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: motion compensating interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding


                                                                                       32

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 951
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20750 Page 35 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                               AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                 JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “For block matching the amount of overhead bits has been calculated as
                                                             follows: 1 bit per block moved-unmoved discrimination, 2*4 bits per moved block for
                                                             the two (integer) components of the displacement vector (this allows to code
                                                             displacements from -8…+8 pixels). The luminance signal resolution mentioned above
                                                             gives theoretical maximum values (in the case of a completely moved field) of 2592 bits
                                                             for 16*16 blocks and of 10368 bits for 8*8 blocks. Using the correct COST format the
                                                             se figures will be 3645 and 14580 bits. Having in mind the amount of bits per coded
                                                             field allowed (some 25000 bits when coding at 320 kbit/s), a look these figures is very
                                                             interesting.” [Page 7.]

                                                             See also “First, the big amount of bits needed for transmission of the displacement
                                                             vectors is no more available for coding the residual prediction errors. Second, and more
                                                             important, block matching works with integer displacement vectors; this implies the
                                                             introduction of artefacts [sic] at the blockborders in the estimated picture and, due to the
                                                             limited amount of bits available, in the reconstructed picture. These artefacts [sic]
                                                             (mostly short horizontally and vertically oriented line pieces) are distributed all over the
                                                             moving area. The principle of object matching allows such artefacts [sic] only at the
                                                             borders of the moving area, not inside. Experiments have shown, coding with different


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 952
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20751 Page 36 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                              AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                  JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             blocksize for movement compensation and for block quantizing (e.g.8*8 for block
                                                             matching, 16*16 for transform coding) gives worse results. Object matching allows
                                                             different blocksizes. Nevertheless we found that object matching with 16*16
                                                             approximation of the contour of moving areas and 16*16 block quantizing gave the best
                                                             subjective impression of the reconstructed pictures. Also block matching and block
                                                             quantizing with common blocksize 16*16 is superior to common blocksize 8*8. [Pages
                                                             8-9.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also Figures 1: INT, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 953
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20752 Page 37 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                             AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-MPT0002784-DEFS-
                                                                       MPT0002745] at 2, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at
                                                                       2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                                       DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                       at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,
                                                                       6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11;
                                                                       #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11; #317R [DEFS-
                                                                       MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5,
                                                                       29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000643, DEFS-
                                                                       MPT0000644]
                                                                  x    Musmann et al. - Advances in Picture Coding at 544 [DEFS-MPT0001027-
                                                                       1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001358]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 954
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20753 Page 38 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000033

Claim 8
The circuit of claim 2 further comprising                    See, e.g.,
buffer means for interposed between the
codes developed by said means for                            H.261 Document #66:
encoding and said third means and an
output port of said circuit.                                 “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 955
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Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                                JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                MPT0002723]
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: Output, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “Figure 1 shows a basic block diagram of the coder and decoder with
                                                             movement compensation. The structure of this coder is identical to the agreed proposal
                                                             of the COST 211 bis simulation subgroup. At the input side after the scan conversion
                                                             (SC) there is the motion analyzer MA determining displacement vectors from the
                                                             original pictures om and om-n (m is the frame number and the delay time of n*t
                                                             corresponds to the delay time with the DPCM loop, n is the number of skipped fields +1
                                                             and t is the field period). The estimator E is controlled by the output signal of MA and
                                                             calculates an estimated picture sm for prediction from the previous reconstructed picture
                                                             Rm-n. In the DPCM loop the residual prediction errors are transformed (DCT),
                                                             quantized (Q) and coded for transmission, also the invers transform (IDCT) is
                                                             performed in order to generate the reconstructed picture in the time domain. After


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 956
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20755 Page 40 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                  JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                   MPT0002723]
                                                             variable length coding (VLC) and buffering (B) the quantized prediction error signal,
                                                             the classification map and control bits of the quantizer and the overhead information for
                                                             the changed areas (moved blocks or objects) with their corresponding movement
                                                             vectors are multiplexed (MUX) before transmission. Displacement vectors are only
                                                             calculated from the luminance signal, the chrominance vectors are extrapolated
                                                             luminance vectors.” [Pages 1-2.]

                                                             See also “Movement compensation by block matching is performed by subdividing the
                                                             fields to be coded in n*n blocks (here n=8 and n=16 are considered). For each block a
                                                             displacement vector is calculated and, if this vector is unequal zero, this vector has to be
                                                             coded and transmitted. For the comparison made displacement vectors are found by
                                                             searching the minimum of the absolute value distance function (window = n*n, full
                                                             search). [Page 3-4.]

                                                             See also Figure 1: B, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 957
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20756 Page 41 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                           AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                    FRG
                                                                                               JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                                   MPT0002661] at 1, 2, 4, 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                   3, Annex 2, Annex 4; #78 [DEFS-MPT0002784-DEFS-MPT0002745] at Annex
                                                                   2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                                   MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                                   MPT0002850] 1, 2, 3; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2;
                                                                   #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R
                                                                   [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 8, 9; #74R [DEFS-
                                                                   MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                                   MPT0002935-DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of
                                                                   Annex 3, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4,
                                                                   9, 11 Annex 1, 12 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000729, DEFS-
                                                                       MPT0000731-33, DEFS-MPT0000758]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.


Claim 11
The circuit of claim 7 wherein granularity                   See, e.g.,
of the codes generated by said first means
and said third means is controlled by the


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 958
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20757 Page 42 of 208
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
occupancy level of said buffer.                              H.261 Document #66:

                                                             “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: Output, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 959
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20758 Page 43 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                               AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                 JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “Figure 1 shows a basic block diagram of the coder and decoder with
                                                             movement compensation. The structure of this coder is identical to the agreed proposal
                                                             of the COST 211 bis simulation subgroup. At the input side after the scan conversion
                                                             (SC) there is the motion analyzer MA determining displacement vectors from the
                                                             original pictures om and om-n (m is the frame number and the delay time of n*t
                                                             corresponds to the delay time with the DPCM loop, n is the number of skipped fields +1
                                                             and t is the field period). The estimator E is controlled by the output signal of MA and
                                                             calculates an estimated picture sm for prediction from the previous reconstructed picture
                                                             Rm-n. In the DPCM loop the residual prediction errors are transformed (DCT),
                                                             quantized (Q) and coded for transmission, also the invers transform (IDCT) is
                                                             performed in order to generate the reconstructed picture in the time domain. After
                                                             variable length coding (VLC) and buffering (B) the quantized prediction error signal,
                                                             the classification map and control bits of the quantizer and the overhead information for
                                                             the changed areas (moved blocks or objects) with their corresponding movement
                                                             vectors are multiplexed (MUX) before transmission. Displacement vectors are only
                                                             calculated from the luminance signal, the chrominance vectors are extrapolated
                                                             luminance vectors.” [Pages 1-2.]




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 960
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20759 Page 44 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                               AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                        FRG
                                                                                                  JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             See also “Movement compensation by block matching is performed by subdividing the
                                                             fields to be coded in n*n blocks (here n=8 and n=16 are considered). For each block a
                                                             displacement vector is calculated and, if this vector is unequal zero, this vector has to be
                                                             coded and transmitted. For the comparison made displacement vectors are found by
                                                             searching the minimum of the absolute value distance function (window = n*n, full
                                                             search). [Page 3-4.]

                                                             See also Figure 1: B, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

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                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1, 2, 4, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671]
                                                                       at 3, Annex at 2 and 4; #78 [DEFS-MPT0002784-DEFS-MPT0002745] at
                                                                       Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                                       MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                                       MPT0002850] at 1, 2, 3; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1,
                                                                       2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12;
                                                                       #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 8, 9; #74R [DEFS-


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 961
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20760 Page 45 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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4,958,226                                                                                          AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                   FRG
                                                                                               JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                                   MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                                   MPT0002935-DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of
                                                                   Annex 3, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4,
                                                                   9, 11 Annex 1, 12 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000638, DEFS-
                                                                       MPT0000641, DEFS-MPT0000643]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.


Claim 12
A circuit responsive to coded video signals                  See, e.g.,
where the video signals comprise
successive frames and each frame includes                    H.261 Document #66:
a plurality of blocks and where the coded
video signals comprise codes that describe                   “In order to achieve very low bit rates for the transmission of television sequences, it is
deviations from approximated blocks and                      necessary to reduce the number of transmitted fields. At the receiver the skipped fields
codes that describe deviations from                          have to be interpolated with respect to motion of objects to avoid blurring in the
interpolated blocks, comprising:                             reconstructed fields. This contribution summarizes the current state of a Motion
                                                             Compensating Field Interpolation (MCI) Algorithm, that is under development at the




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 962
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20761 Page 46 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                            AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                     FRG
                                                                                                 JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             University of Hannover. “ [Page 1.]

                                                             See also “To determine the displacement vectors for two successive transmitted fields of
                                                             a differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]



                                                                                       44

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 963
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20762 Page 47 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                               AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                  JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             See also Figure 1: input, displacement estimator, change detection, motion
                                                             compensating interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “Figure 1 shows a basic block diagram of the coder and decoder with
                                                             movement compensation. The structure of this coder is identical to the agreed proposal
                                                             of the COST 211 bis simulation subgroup. At the input side after the scan conversion
                                                             (SC) there is the motion analyzer MA determining displacement vectors from the
                                                             original pictures om and om-n (m is the frame number and the delay time of n*t
                                                             corresponds to the delay time with the DPCM loop, n is the number of skipped fields +1
                                                             and t is the field period). The estimator E is controlled by the output signal of MA and
                                                             calculates an estimated picture sm for prediction from the previous reconstructed picture
                                                             Rm-n. In the DPCM loop the residual prediction errors are transformed (DCT),
                                                             quantized (Q) and coded for transmission, also the invers transform (IDCT) is
                                                             performed in order to generate the reconstructed picture in the time domain. After
                                                             variable length coding (VLC) and buffering (B) the quantized prediction error signal,


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 964
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20763 Page 48 of 208
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                   JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                   MPT0002723]
                                                             the classification map and control bits of the quantizer and the overhead information for
                                                             the changed areas (moved blocks or objects) with their corresponding movement
                                                             vectors are multiplexed (MUX) before transmission. Displacement vectors are only
                                                             calculated from the luminance signal, the chrominance vectors are extrapolated
                                                             luminance vectors.” [Pages 1-2.]

                                                             See also “The decoder performs basically inverse operations. In order to achieve
                                                             smooth movements skipped fields are interpolated motion-adaptively by evaluating the
                                                             transmitted displacement parameters. This involves the necessity of measuring “true”
                                                             displacements, not only minimizing the prediction error or some other cost function.
                                                             The used technique of movement compensation and interpolation by object matching
                                                             and the quantizing strategy are explained in detail in /1/. A technique for motion-
                                                             adaptive interpolation measuring “true” displacements at the receiver side without using
                                                             the transmitted vectors is described in /2/.” [Page 2.]

                                                             See also “Movement compensation by block matching is performed by subdividing the
                                                             fields to be coded in n*n blocks (here n=8 and n=16 are considered). For each block a
                                                             displacement vector is calculated and, if this vector is unequal zero, this vector has to be
                                                             coded and transmitted. For the comparison made displacement vectors are found by
                                                             searching the minimum of the absolute value distance function (window = n*n, full
                                                             search). [Page 3-4.]

                                                             See also “Object matching can be considered as an extension of block matching.


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 965
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20764 Page 49 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                              AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                  JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             Adjacent changed blocks (also 8*8 and 16*16 are considered) are concatenated to
                                                             changed areas, which, under ideal conditions (stationary background, no occlusions,
                                                             constant illumination) represent one moving object. For this object only one
                                                             representative movement vector is calculated based on a movement model and
                                                             transmitted. The non ideal behavior of natural scenes led us to calculate one or two
                                                             models in order to solve the problems of occlusions and changing shape.” [Page 4.]

                                                             See also Figures 1: channel, DMUX, B VLD, ICT, +, P, N-tf, SC, and connections; and
                                                             7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4, 5; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                       3, Annex at 2 and 4; #78 [DEFS-MPT0002784-DEFS-MPT0002745] at 1, 2, 4,
                                                                       5, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                                       MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                                       MPT0002850] at 1, 2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1,
                                                                       2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12;


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 966
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20765 Page 50 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                          AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                   FRG
                                                                                               JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                               MPT0002723]
                                                                   #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,6, 7, 9; #74R [DEFS-
                                                                   MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                                   MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of
                                                                   Annex 4, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1,
                                                                   9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000681- DEFS-MPT0000683, DEFS-MPT0000643, DEFS-
                                                                       MPT00006437, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-62, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000747, DEFS-MPT0000747-1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541
                                                                       [DEFS-MPT0001027-1052]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 967
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20766 Page 51 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   MPT0009305-06, DEFS-MPT0009353.


means for developing block                                   See, e.g.,
approximations from said codes that
describe deviations from approximated                        H.261 Document #66:
blocks; and
                                                             “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation


                                                                                       49

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 968
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20767 Page 52 of 208
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4,958,226                                                                                                 AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                    IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
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                                                                                                     JANUARY 1986
                                                                     [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                     MPT0002723]
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: motion compensating interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “The decoder performs basically inverse operations. In order to achieve
                                                             smooth movements skipped fields are interpolated motion-adaptively by evaluating the
                                                             transmitted displacement parameters. This involves the necessity of measuring “true”
                                                             displacements, not only minimizing the prediction error or some other cost function.
                                                             The used technique of movement compensation and interpolation by object matching
                                                             and the quantizing strategy are explained in detail in /1/. A technique for motion-
                                                             adaptive interpolation measuring “true” displacements at the receiver side without using



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 969
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20768 Page 53 of 208
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4,958,226                                                                                                AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                         FRG
                                                                                                   JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                   MPT0002723]
                                                             the transmitted vectors is described in /2/.” [Page 2.]

                                                             See also “The results shown in Figure 2 through 5 are not surprising. It’s quite clear
                                                             that block matching with 8*8 blocks yields a higher gain than with 16*16 blocks due to
                                                             the fact of a more precise circumscribing of the moving areas. On the other hand, block
                                                             matching with 16*16 block needs approximately one third of the amount of overhead
                                                             bits as compared to 8*8 blocks.” [Page 7.]

                                                             See also “For block matching the amount of overhead bits has been calculated as
                                                             follows: 1 bit per block moved-unmoved discrimination, 2*4 bits per moved block for
                                                             the two (integer) components of the displacement vector (this allows to code
                                                             displacements from -8…+8 pixels). The luminance signal resolution mentioned above
                                                             gives theoretical maximum values (in the case of a completely moved field) of 2592 bits
                                                             for 16*16 blocks and of 10368 bits for 8*8 blocks. Using the correct COST format the
                                                             se figures will be 3645 and 14580 bits. Having in mind the amount of bits per coded
                                                             field allowed (some 25000 bits when coding at 320 kbit/s), a look these figures is very
                                                             interesting.” [Page 7.]

                                                             See also Figures 1: INT, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66



                                                                                       51

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 970
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20769 Page 54 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                             AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2,
                                                                       3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                       3, Annex at 2 and 4; #78 [DEFS-MPT0002784-DEFS-MPT0002745] at 3, 5,
                                                                       Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-
                                                                       MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                                       MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at
                                                                       1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12;
                                                                       #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-
                                                                       MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                                       MPT0002935-DEFS-MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-
                                                                       MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5,
                                                                       32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000681- DEFS-MPT0000683, DEFS-MPT0000643, DEFS-MPT0000643,
                                                                       DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-62, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000747, DEFS-MPT0000731-1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 971
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20770 Page 55 of 208
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U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                      AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                               FRG
                                                                                           JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                           MPT0002723]
                                                                   [DEFS-MPT0001027-1052]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031-32.
means responsive to said block                               See, e.g.,
approximations and to said codes that
describe deviations from interpolated                        H.261 Document #66:
blocks to develop said interpolated blocks.
                                                             “To determine the displacement vectors for two successive transmitted fields of a
                                                             differential displacement estimation algorithm developed by Bierling [2] is applied.
                                                             Compared to other known algorithms the stability behavior and the precision of estimate




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 972
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20771 Page 56 of 208
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                            AND
CLAIM LANGUAGE                                                H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                     FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             is improved using a more accurate image model.” [Page 1.]

                                                             See also “In order to obtain displacement vector fields, which are uniquely defined at
                                                             each picture element of the fields to be interpolated, a measurement technique proposed
                                                             by Beyer [3] is adopted, that is independent of the chosen displacement estimation
                                                             algorithm.” [Page 1.]

                                                             See also “The change detection algorithm evaluates the absolute frame differences for
                                                             each picture element of two transmitted fields, to distinguish between changed and
                                                             unchanged regions. This information is used to assign zero displacement vectors to the
                                                             unchanged areas.” [Page 2.]

                                                             See also “The displacement vectors control the motion compensating interpolation
                                                             filter, that calculates the picture elements for the fields to be interpolated by means of
                                                             the transmitted fields. The displacement vector field, calculated with the luminance
                                                             data only, is used for both, the interpolation of luminance signals and the interpolation
                                                             of chrominance signals.” [Page 2.]

                                                             See also Figure 1: motion compensating interpolation filter, and connections.

                                                             H.261 Document #67:

                                                             “Movement compensated prediction and interpolation is a key element of source coding


                                                                                       54

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 973
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20772 Page 57 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                               AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                 JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             of television signals down to some kbit/s for bidirectional videoconference or
                                                             videotelephone applications. A comparison between block matching and object
                                                             matching techniques is made in this paper with special regard to the choice of blocksize
                                                             and the resulting overhead needed as a description of the movement vectors.” [Page 1.]

                                                             See also “The decoder performs basically inverse operations. In order to achieve
                                                             smooth movements skipped fields are interpolated motion-adaptively by evaluating the
                                                             transmitted displacement parameters. This involves the necessity of measuring “true”
                                                             displacements, not only minimizing the prediction error or some other cost function.
                                                             The used technique of movement compensation and interpolation by object matching
                                                             and the quantizing strategy are explained in detail in /1/. A technique for motion-
                                                             adaptive interpolation measuring “true” displacements at the receiver side without using
                                                             the transmitted vectors is described in /2/.” [Page 2.]

                                                             See also “First, the big amount of bits needed for transmission of the displacement
                                                             vectors is no more available for coding the residual prediction errors. Second, and more
                                                             important, block matching works with integer displacement vectors; this implies the
                                                             introduction of artefacts [sic] at the blockborders in the estimated picture and, due to the
                                                             limited amount of bits available, in the reconstructed picture. These artefacts [sic]
                                                             (mostly short horizontally and vertically oriented line pieces) are distributed all over the
                                                             moving area. The principle of object matching allows such artefacts [sic] only at the
                                                             borders of the moving area, not inside. Experiments have shown, coding with different
                                                             blocksize for movement compensation and for block quantizing (e.g.8*8 for block


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 974
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20773 Page 58 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                      H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                              AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                   IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                       FRG
                                                                                                  JANUARY 1986
                                                                    [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                  MPT0002723]
                                                             matching, 16*16 for transform coding) gives worse results. Object matching allows
                                                             different blocksizes. Nevertheless we found that object matching with 16*16
                                                             approximation of the contour of moving areas and 16*16 block quantizing gave the best
                                                             subjective impression of the reconstructed pictures. Also block matching and block
                                                             quantizing with common blocksize 16*16 is superior to common blocksize 8*8. [Pages
                                                             8-9.]

                                                             See also “Compared to object matching, block matching gives higher gains by
                                                             movement compensation when coding objects with changing shape. On the other hand,
                                                             a significantly higher amount of bits is needed for the transmission of the displacement
                                                             vectors, this amount beeing [sic] no moore [sic] available for the coding of the residual
                                                             prediction errors. In the case of changing camera parameters (zoom, pan), the gain of
                                                             object matching is higher with a lower overhead needed. With object matching “true”
                                                             displacements are estimated. This allows the use of the transmitted displacement
                                                             vectors for motion adaptive interpolation of skipped fields; nevertheless there is the
                                                             possibility to improve the performance using a more sophisticated post-processing in
                                                             order to display smooth movements on the receiver side.” [Page 11.]

                                                             See also Figures 1: CT, Q, VLC, and connections; and 7 through 8.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Documents #66




                                                                                       56

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 975
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20774 Page 59 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                     H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                             AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                  IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                      FRG
                                                                                                 JANUARY 1986
                                                                   [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                                 MPT0002723]
                                                             and 67, to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2,
                                                                       3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #78 [DEFS-MPT0002784-DEFS-
                                                                       MPT0002745] at 3, 5; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2;
                                                                       #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                                       DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                       at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,
                                                                       6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11;
                                                                       #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of Annex 4;
                                                                       #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex
                                                                       1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-0001026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000684-688, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-
                                                                       MPT0000650, DEFS-MPT0000651, DEFS-MPT0000653, DEFS-MPT0000655,
                                                                       DEFS-MPT0000661-62, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                                       MPT0000720, DEFS-MPT0000797, DEFS-MPT0000805, DEFS-MPT0000756,
                                                                       DEFS-MPT0000824, DEFS-MPT0000754-1024]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329]


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 976
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20775 Page 60 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                    H.261 DOCUMENT #66 MOTION COMPENSATING FIELD INTERPOLATION
4,958,226                                                                                          AND
CLAIM LANGUAGE                                               H.261 DOCUMENT #67 ON BLOCK SIZE AND OVERHEAD FOR DISPLACEMENT VECTOR
                                                                 IN BLOCK MATCHING AND OBJECT MATCHING VIDEO TELEPHONE CODECS
                                                                                                   FRG
                                                                                             JANUARY 1986
                                                                  [DEFS-MPT0002709-DEFS-MPT0002712] [DEFS-MPT0002713-DEFS-
                                                                                             MPT0002723]
                                                                x Musmann et al. - Advances in Picture Coding 537-541 and 542-545 [DEFS-
                                                                   MPT0001027-1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-210 at DEFS-MPT0001207-208, DEFS-
                                                                       MPT0001209-10]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237-378; DEFS-
                                                                       MPT0007533-34; DEFS-MPT0007310-11] at DEFS-MPT0009244, DEFS-
                                                                       MPT0009305-06, DEFS-MPT0009353.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031-32.




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 977
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20776 Page 61 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.




U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

Claim 2
A circuit for encoding applied video signals                 See, e.g.,
that comprise successive frames, where
each frame is divided into blocks, including                 “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
means for encoding the blocks of some of                     invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
said frames by developing for each block of                  the hosting organization by Mr. Kenyon.” [Page 1.]
such frames (a) an approximated version of
said block derived from an approximated                      See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
version of said block developed for a                        VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
previous frame, and (b) a code which                         VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
represents the deviation of said block from                  object matching techniques is made in terms of movement compensation gain, overhead
said approximated version of said block,                     bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
the improvement comprising:                                  for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number


                                                                                       59

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 978
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20777 Page 62 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion



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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20778 Page 63 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,
                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1,
                                                                       4, 5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-
                                                                       MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-
                                                                       DEFS-MPT0002671] at 1-8; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at
                                                                       1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-
                                                                       MPT0002745-DEFS-MPT0002784] at 1, 2, 3, 5, Annex 1, Annex 2; #81
                                                                       [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-
                                                                       DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850]
                                                                       at 1, 2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                                       [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 12; #54R [DEFS-
                                                                       MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-MPT0002935-
                                                                       DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of Annex 4, 9 of
                                                                       Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9, 11 Annex
                                                                       1, 14 Annex 1, 25 Annex 5, 32-33.
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000681-DEFS-MPT0000683, DEFS-MPT0000643, DEFS-MPT0000644,


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 980
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20779 Page 64 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       DEFS-MPT0000650, DEFS-MPT0000651, DEFS-MPT0000655, DEFS-
                                                                       MPT0000661-662, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                                       MPT0000731-1024, DEFS-MPT0000731, DEFS-MPT0000747-1024, DEFS-
                                                                       MPT0000747]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                                       MPT0001027-DEFS-MPT0001052]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0007310, 7311, 9241, 9242, 9243, 9244, 9248.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.

second means for approximating the blocks                    See, e.g.,
of those of said frames that are to be
interpolated by combining approximated                       “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
versions of said blocks in selected ones of                  invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of


                                                                                       62

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 981
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20780 Page 65 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

the frames that are encoded in said means                    the hosting organization by Mr. Kenyon.” [Page 1.]
for encoding; and
                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the


                                                                                       63

                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 982
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20781 Page 66 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 983
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20782 Page 67 of 208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,5;
                                                                       #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-
                                                                       MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                                       MPT0002723] at 1, 7; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at 2, 3,
                                                                       5, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                                       MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                                       MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at
                                                                       1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12;
                                                                       #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-
                                                                       MPT0002935-DEFS-MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-
                                                                       MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5,
                                                                       32-33.
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000684-DEFS-MPT0000688, DEFS-MPT0000643, DEFS-MPT0000644,
                                                                       DEFS-MPT0000650, DEFS-MPT0000651, DEFS-MPT0000653, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-
                                                                       MPT0000805, DEFS-MPT0000756, DEFS-MPT0000824, DEFS-MPT0000754-
                                                                       1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                                       MPT0001027-1052]


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 984
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20783 Page 68 of 208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009243, 7310, 9242, 9243.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.

third means responsive to said second                        See, e.g.,
means and to said frames to be interpolated
for developing code that corresponds to                      “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
those pels in blocks approximated by said                    invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
second means that differ from                                the hosting organization by Mr. Kenyon.” [Page 1.]
corresponding pels in said frames to be
interpolated by greater than a preselected                   See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
threshold.                                                   VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed


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                                                                                                                                                                    Exhibit 6
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 986
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20785 Page 70 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,
                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3 (and figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,
                                                                       5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-
                                                                       MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                                       MPT0002723] at 1, 8, 9, 11; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at
                                                                       2, 3, 5, Annex 1, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1,


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 987
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20786 Page 71 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-
                                                                       MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                                       DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440]
                                                                       at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1,
                                                                       6, 7, 9; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of Annex
                                                                       4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14
                                                                       Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688,
                                                                       DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-
                                                                       MPT0000661-662, DEFS-MPT0000729, DEFS-MPT0000754-1024]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009244, 9305, 9306, 9239, 7310, 7533, 9242, 9243.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.

Claim 3




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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 988
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20787 Page 72 of 208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

The circuit of claim 2 wherein said code                     See, e.g.,
developed for a pel by said third means
represents the difference between the value                  “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
of said pel and the value of said pel                        invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
approximated by said second means.                           the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 989
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20788 Page 73 of 208
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4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 990
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20789 Page 74 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             See also List of Participants.

                                                             See also one or more of the following references, in combination with Document #78, to
                                                             show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 4, 5; #51 at 1, 2, 3; #66 at 1, 2;
                                                                       #67 at 1, 8, 9, 11; #81 at 1, 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R
                                                                       at 1, 7, 10 Annex 1, 12; #54R at 1, 6, 7, 9; #103R at 3, 11, 3 of Annex 4; #317R
                                                                       at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688,
                                                                       DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-
                                                                       MPT0000661-662, DEFS-MPT0000729]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
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                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]

Claim 4
The circuit of claim 2 wherein the frames                    See, e.g.,
selected for combining in said second
means include a frame encoded in said first                  “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
means that precedes the frame                                invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
approximated in said second means and a


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 991
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20790 Page 75 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

frame encoded in said first means that                       the hosting organization by Mr. Kenyon.” [Page 1.]
succeeds the frame approximated in said
means.                                                       See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
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                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
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                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
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                                                             See also “Since there were no proposals for coding algorithms based on
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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 992
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20791 Page 76 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
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                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 993
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20792 Page 77 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1,4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                                       MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2,
                                                                       3, 4, 11; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at 3, Annex 1; #81
                                                                       [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-
                                                                       DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850]
                                                                       at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                                       [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R
                                                                       [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-
                                                                       MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of Annex 4; #317R [DEFS-
                                                                       MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5,
                                                                       29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643,
                                                                       DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-
                                                                       MPT0000729]
                                                                  x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                                       MPT0001027-1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-


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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20793 Page 78 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0007310, 9242, 9243.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000032, 33.

Claim 5
The circuit of claim 4 wherein said                          See, e.g.,
combining includes developing anticipated
versions of said blocks.                                     “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
                                                             invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,


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                                                                                                                                                                    Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20794 Page 79 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 996
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20795 Page 80 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references, in combination with Document #78, to
                                                             show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 1, 4, 5; #51 at 1, 2, 3; #66 at 1,
                                                                       2; #67 at 1, 7, 11; #81 at 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at
                                                                       1, 7, 10 Annex 1, 12; #54R at 1, 6, 7, 9; #103R at 10, 3, 11, 3 of Annex 4; #317R
                                                                       at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643,
                                                                       DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-
                                                                       MPT0000668, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                                       MPT0001027-1052]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 997
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20796 Page 81 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]


Claim 6
The circuit of claim 2 wherein a set                         See, e.g.,
proportion of frames of said applied video
signals are interpolated.                                    “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
                                                             invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number


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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 998
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20797 Page 82 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion



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                                                                                                                                                                    Exhibit 6
                                                                                                                                                                    Page 999
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20798 Page 83 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,
                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                                       MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 7,
                                                                       8, 9, 11; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at 2, Annex 2; #81
                                                                       [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-
                                                                       DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850]
                                                                       at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                                       [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R
                                                                       [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-
                                                                       MPT0002935-DEFS-MPT0002971] at 3, 11; #317R [DEFS-MPT0004237-
                                                                       DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29,
                                                                       32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643,
                                                                       DEFS-MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-
                                                                       MPT0000668]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1000
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20799 Page 84 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001358, DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009243, 9241.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 33.

Claim 7
The circuit of claim 6 wherein said                          See, e.g.,
proportion is approximately one half.
                                                             “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
                                                             invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1001
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20800 Page 85 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
                                                             carried out for clarification. Various demonstrations of source coding simulation results
                                                             were also givin. An overview of these demonstrations is listed here. – DCT based
                                                             coding (Japan) – VQ based coding (Japan) – Interframe prediction with interpolation
                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
                                                             discussion is summarized here.” [Page 5.]

                                                             See also “Since there were no proposals for coding algorithms based on
                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
                                                             VQ or a combination of these approaches in the future. The meeting agreed to make the
                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1002
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20801 Page 86 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,
                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                                       MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 7,
                                                                       8, 9, 11; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at 2, Annex 2; #81
                                                                       [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-
                                                                       DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850]


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1003
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20802 Page 87 of 208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                                       [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R
                                                                       [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-
                                                                       MPT0002935-DEFS-MPT0002971] at 3, 11; #317R [DEFS-MPT0004237-
                                                                       DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29,
                                                                       32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000643, DEFS-
                                                                       MPT0000644]
                                                                  x    Musmann et al. - Advances in Picture Coding at 544 [DEFS-MPT0001027-
                                                                       1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001358]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009264.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000033

Claim 8
The circuit of claim 2 further comprising                    See, e.g.,
buffer means for interposed between the
codes developed by said means for                            “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
encoding and said third means and an                         invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
output port of said circuit.


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1004
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20803 Page 88 of 208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
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                                                             matching (F.R.G.) – DCT based coding (France) – VQ based coding (France) A number
                                                             of topics, related to the source coding, have been discussed. The outcome of this
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                                                             ‘prediction/interpolation’, the Specialists Group will evaluate and compose Transform,
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20804 Page 89 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
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                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
                                                             hardware implications, the type of motion vectors to be used and required amount of
                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
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                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
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                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1006
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20805 Page 90 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1, 2, 4, 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                       3, Annex 2, Annex 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2;
                                                                       #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-
                                                                       MPT0002745-DEFS-MPT0002784] at Annex 2; #81 [DEFS-MPT0002817-
                                                                       DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1,
                                                                       2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] 1, 2, 3; #299 [DEFS-
                                                                       MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                                       MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-
                                                                       MPT0002634] at 1, 6, 7, 8, 9; #103R [DEFS-MPT0002935-DEFS-
                                                                       MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex 3, 9 of Annex 4;
                                                                       #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12
                                                                       Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000729, DEFS-
                                                                       MPT0000731-733, DEFS-MPT0000758]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0007310, 9274, 9242, 9243.

Claim 11


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1007
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20806 Page 91 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

The circuit of claim 7 wherein granularity                   See, e.g.,
of the codes generated by said first means
and said third means is controlled by the                     “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
occupancy level of said buffer.                              invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
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                                                             decoding signals with movement compensation by object matching should be included
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                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
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                                                             the DCT and the motion analysis, comparison between block matching and object
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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1008
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20807 Page 92 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

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                                                             See also “Since there were no proposals for coding algorithms based on
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                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
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                                                             See also “Transmission errors It was pointed out that the coded should be designed in
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                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization
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                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1009
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20808 Page 93 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
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                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1,
                                                                       2, 3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1, 2, 4, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671]
                                                                       at 3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2;
                                                                       #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-
                                                                       MPT0002745-DEFS-MPT0002784] at Annex 2; #81 [DEFS-MPT0002817-
                                                                       DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1,
                                                                       2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3; #299 [DEFS-
                                                                       MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                                       MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-
                                                                       MPT0002634] at 1, 6, 7, 8, 9; #103R [DEFS-MPT0002935-DEFS-
                                                                       MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex 3, 9 of Annex 4;
                                                                       #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12
                                                                       Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000638, DEFS-MPT0000641,
                                                                       DEFS-MPT0000643]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-


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                                                                                                                                                                  Page 1010
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20809 Page 94 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0007310, 9274, 9242, 9243.

Claim 12
A circuit responsive to coded video signals                  See, e.g.,
where the video signals comprise
successive frames and each frame includes                    “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
a plurality of blocks and where the coded                    invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
video signals comprise codes that describe                   the hosting organization by Mr. Kenyon.” [Page 1.]
deviations from approximated blocks and
codes that describe deviations from                          See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
interpolated blocks, comprising:                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
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                                                                                                                                                                  Exhibit 6
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                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20810 Page 95 of 208
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                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             the DCT and the motion analysis, comparison between block matching and object
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                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
                                                             are presently several strategies. It was also pointed out that the different quantization


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1012
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20811 Page 96 of 208
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                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             strategies were not referring to the same parameters: signal power, error power, motion
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                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                       3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2;
                                                                       #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-
                                                                       MPT0002745-DEFS-MPT0002784] at 1, 2, 4, 5, Annex 1; #81 [DEFS-
                                                                       MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-
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                                                                       2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                                       MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                                       MPT0002624-DEFS-MPT0002634] at 1,6, 7, 9; #103R [DEFS-MPT0002935-
                                                                       DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of Annex 4, 9 of
                                                                       Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9, 11 Annex
                                                                       1, 14 Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1013
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20812 Page 97 of 208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       MPT0000681-DEFS-MPT0000683, DEFS-MPT0000643, DEFS-
                                                                       MPT00006437, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000747, DEFS-MPT0000747-1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541
                                                                       [DEFS-MPT0001027-1052]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009243, 9248, 9241, 9244, 7310, 9245.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.

means for developing block                                   See, e.g.,
approximations from said codes that
describe deviations from approximated                        “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
blocks; and                                                  invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of



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                                                                                                                                                                  Exhibit 6
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CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
                                                             object matching techniques is made in terms of movement compensation gain, overhead
                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
                                                             for both block matching and block quantizing. It is also proposed that the possibility of
                                                             decoding signals with movement compensation by object matching should be included
                                                             in a future standard.” [Page 3.]

                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
                                                             71 and 72. After presentation of the documents, extensive questions and answers were
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                                                             and block quantization (U.S.A.) – Motion compensated field interpolation, blocksize of
                                                             the DCT and the motion analysis, comparison between block matching and object
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                                                             of topics, related to the source coding, have been discussed. The outcome of this
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                                                                                       96

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1015
                  Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20814 Page 99 of 208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decision on the coding algorithm and the generic structure at the next meeting.” [Page
                                                             6.]

                                                             See also “Motion compensated field interpolation (#60, 63, 66, 67) As simple field
                                                             repetition might introduce impairments such as jerkiness and blurring, the use of motion
                                                             compensated field interpolation deserves consideration. A first approach has been
                                                             demonstrated during the meeting. Further study is required bearing in mind the
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                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
                                                             proposed by Document #45 are not enough if broadcasting mode or multipoint
                                                             communication is considered.” [Page 7.]

                                                             See also “The different quantization strategies were examined and it appeared that there
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                                                             strategies were not referring to the same parameters: signal power, error power, motion
                                                             vector, buffer fulness [sic] and frame difference.” [Page 11.]

                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
                                                             functional language in their corresponding charts, in combination with Document #74R,



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1016
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20815 Page 100 of
                                                          208
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4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             to show obviousness of this element:

                                                                  x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2,
                                                                       3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                                       MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at
                                                                       3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2;
                                                                       #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 7; #78 [DEFS-
                                                                       MPT0002745-DEFS-MPT0002784] at 3, 5, Annex 1; #81 [DEFS-
                                                                       MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-
                                                                       MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1,
                                                                       2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                                       MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                                       MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-MPT0002935-
                                                                       DEFS-MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-
                                                                       MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000681-DEFS-MPT0000683, DEFS-MPT0000643, DEFS-MPT0000643,
                                                                       DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000747, DEFS-MPT0000731-1024]
                                                                  x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541
                                                                       [DEFS-MPT0001027-1052]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1017
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20816 Page 101 of
                                                          208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009243, 9241, 7310, 9242, 9245.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.

means responsive to said block                               See, e.g.,
approximations and to said codes that
describe deviations from interpolated                        “The Specialists Group met in Ipswich from January 21 to 24, 1986, at the kind
blocks to develop said interpolated blocks.                  invitation of BTRL, United Kingdom. Welcoming address was delivered on behalf of
                                                             the hosting organization by Mr. Kenyon.” [Page 1.]

                                                             See also “#67 ON BLOCKSIZE AND OVERHEAD FOR DISPLACEMENT
                                                             VECTORS IN BLOCK MATCHING AND OBJECT MATCHING
                                                             VIDEOTELEPHONE CODECS (F.R.G.) A comparison between block matching and
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                                                             bit amount and introduced artefacts [sic]. A common blocksize of 16 x 16 is proposed
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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1018
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20817 Page 102 of
                                                          208
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4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             decoding signals with movement compensation by object matching should be included
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                                                             See also “Reference was made to the Documents #54R, 60, 61, 62, 63, 66, 67, 68, 70,
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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1019
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20818 Page 103 of
                                                          208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                             information in the case of transmitting interpolation errors.” [Page 7.]

                                                             See also “Transmission errors It was pointed out that the coded should be designed in
                                                             such a way to keep error resilience, because error correction and/or demand refresh
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                                                             See also List of Participants.

                                                             See also one or more of the following references and the citations to structures and
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                                                                       3; #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-
                                                                       MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                                       MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2,
                                                                       8, 9, 11; #78 [DEFS-MPT0002745-DEFS-MPT0002784] at 3, 5; #81 [DEFS-
                                                                       MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-
                                                                       MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1,


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                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20819 Page 104 of
                                                          208
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                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                       2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                                       MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                                       MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #103R [DEFS-MPT0002935-
                                                                       DEFS-MPT0002971] at 3, 11, 3 of Annex 4; #317R [DEFS-MPT0004237-
                                                                       DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                                  x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-
                                                                       MPT0000684-DEFS-MPT0000688, DEFS-MPT0000643, DEFS-MPT0000644,
                                                                       DEFS-MPT0000650, DEFS-MPT0000651, DEFS-MPT0000653, DEFS-
                                                                       MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                                       MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805,
                                                                       DEFS-MPT0000756, DEFS-MPT0000824, DEFS-MPT0000754-1024]
                                                                  x    Jain et al. – Displacement Measurement and Its Application in Interframe Image
                                                                       Coding [DEFS-MPT0000325-334 at DEFS-MPT0000329]
                                                                  x    Musmann et al. - Advances in Picture Coding 537-541 and 542-545 [DEFS-
                                                                       MPT0001027-1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
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                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009244, 9305, 9304, 9244, 9306.


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1021
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20820 Page 105 of
                                                          208
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U.S. PATENT NO.                                                                         H.261 DOCUMENT #74R
4,958,226                                                                    REPORT OF THE FOURTH MEETING IN IPSWICH
CLAIM LANGUAGE                                                    CHAIRMAN OF THE SPECIALISTS GROUP ON CODING FOR VISUAL TELEPHONY
                                                                                           JANUARY 24, 1986
                                                                               [DEFS-MPT0002740- DEFS-MPT0002751]

                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1022
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20821 Page 106 of
                                                          208
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]
Claim 2
A circuit for encoding applied              See e.g.,
video signals that comprise
successive frames, where each
frame is divided into blocks,
including means for encoding
the blocks of some of said
frames by developing for each
block of such frames (a) an
approximated version of said
block derived from an
approximated version of said
block developed for a previous
frame, and (b) a code which
represents the deviation of said
block from said approximated
version of said block, the
improvement comprising:
                                            Fig. 1: , Intra/Inter, DCT Displacement estimation, Frame Memory, Quantizer, Inverse Quantizer,
                                            Inverse DCT, , Classification, VLCs, Buffer, and connections. [DEFS-MPT0007310]

                                            “5. General classification of the method
                                               3 dimensional DCT + Motion compensated frame interpolation
                                            6. Description of principal technical characteristics
                                               3D-DCT coding : Block size=8 pixel x8line x 4frame
                                                 Normalization of coefficient, Adaptive bit allocation



                                                                                      310

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1023
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20822 Page 107 of
                                                          208
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4,958,226                                                                          FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                    MPT0007311]
                                              Motion compensated frame interpolation (block=8 x 8)”

                                             “5. General classification of the method
                                               MC + DCT + Motion Compensated Frame Interpolation
                                            6. Description of principal technical characteristics
                                               Motion compensated interframe prediction (block= 16 X 16)
                                               DCT coding : block size=8 x 8 Adaptive quantization
                                               Motion compensated frame interpolation (block=8 x 8)”
                                            [DEFS-MPT0007311]

                                            “The decoder receive the bitstream … and process the coded data and reconstruct the image ....”
                                            [DEFS-MPT0009243]

                                            “Every 5 coding frame from the first frame is set to be refresh frame. Subsequent 4 coding frames
                                            after the refresh frame are coded by the interframe mode or intraframe
                                            mode.” [DEFS-MPT0009243]

                                            Subsection 2.2.2 "Block construction" [DEFS-MPT0009248].




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1024
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20823 Page 108 of
                                                          208
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a: Interframe Difference, Motion Estimation, Motion Compensation, frame Memory,
                                            DCT Quantization, Inverse Quantization, Inverse DCT, Frame Construction, and connections.



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1025
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20824 Page 109 of
                                                          208
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]
                                            [DEFS-MPT0009242-9243]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]

                                            Output line “B” in Figure 2.1.1-1a and Figure 2.1.1-1b. [DEFS-MPT0009243].

                                            “In the interframe prediction mode the block of the current frame is subtracted by the selected
                                            block of the previous frame.... The output ... is then transformed by DCT.” [DEFS-MPT0009241]

                                            Output line “E” in Figure 2.2.1-1 a and Figure 2.1.1-lb.

                                            “…the coded interpolation error data ... the error data of the specified block is added to the
                                            interpolation frame." [DEFS-MPT0009244]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1026
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20825 Page 110 of
                                                          208
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4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
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                                                      figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4, 5; #51 [DEFS-
                                                      MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-
                                                      MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-MPT0002671] at 1-8; #66
                                                      [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                      MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 1, 2, 3, 5,
                                                      Annex 1, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-
                                                      MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                      MPT0002850] at 1, 2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                      [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 12; #54R [DEFS-MPT0002624-DEFS-
                                                      MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6,
                                                      7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex
                                                      4, 8 of Annex 4, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9,
                                                      11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33.


                                                                                      314

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1027
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20826 Page 111 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                               MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                   FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                             MPT0007311]
                                               x Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-
                                                  MPT0000683, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-
                                                  MPT0000651, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668,
                                                  DEFS-MPT0000669, DEFS-MPT0000731-1024, DEFS-MPT0000731, DEFS-
                                                  MPT0000747-1024, DEFS-MPT0000747]
                                                 x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                      MPT0001027-DEFS-MPT0001052]
                                                 x    Jain et al. – Displacement Measurement and Its Application in Interframe Image Coding
                                                      [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001358, DEFS-MPT0001359]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.


second means for                            See, e.g.,
approximating the blocks of
those of said frames that are to            Figure 2.1.2-1; the “Various Variable Length Decoder,” “Inverse DCT 1,” and the “Frame
be interpolated by combining                Reconstructor.”
approximated versions of said
blocks in selected ones of the              “In the interframe mode, the output block data of the inverse DCT is added to the motion
frames that are encoded in said             compensated and filtered (when filter is on) block data of the previous frame each pixel by each
means for encoding; and                     pixel.... The same process is repeated in the whole blocks and finally the picture frame is
                                            reconstructed.” [DEFS-MPT0009243]


                                                                                      315

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1028
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20827 Page 112 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]

                                            See also, Figures 1 and 2.




                                            Fig. 1: , Intra/Inter, DCT Displacement estimation, Frame Memory, Quantizer, Inverse Quantizer,


                                                                                      316

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1029
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20828 Page 113 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                  MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                          FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                    MPT0007311]
                                            Inverse DCT, , Classification, VLCs, Buffer, and connections. [DEFS-MPT0007310]

                                            Fig. 2: Interpolator, Frame Memory, VLD, , and connections. [DEFS-MPT0007310]




                                                                                      317

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1030
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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a: Frame Interpolation Frame Memory, Frame Differences, and connections.
                                            [DEFS-MPT0009242-9243]



                                                                                      318

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1031
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20830 Page 115 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]


                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3 (and
                                                      figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,5; #51 [DEFS-
                                                      MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                      MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 7; #78 [DEFS-
                                                      MPT0002784-DEFS-MPT0002795] at 2, 3, 5, Annex 1; #81 [DEFS-MPT0002817-DEFS-
                                                      MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-


                                                                                      319

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1032
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20831 Page 116 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                 MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                                  MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-
                                                  MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex
                                                  1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-
                                                  MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-
                                                  MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9,
                                                  11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33.
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000684-DEFS-
                                                      MPT0000688, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-
                                                      MPT0000651, DEFS-MPT0000653, DEFS-MPT0000655, DEFS-MPT0000661-662,
                                                      DEFS-MPT0000668, DEFS-MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797,
                                                      DEFS-MPT0000805, DEFS-MPT0000756, DEFS-MPT0000824, DEFS-MPT0000754-
                                                      1024]
                                                 x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                      MPT0001027-1052]
                                                 x    Jain et al. – Displacement Measurement and Its Application in Interframe Image Coding
                                                      [DEFS-MPT0000325-334 at DEFS-MPT0000329]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001358, DEFS-MPT0001359]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.

third means responsive to said              See, e.g.,
second means and to said


                                                                                      320

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1033
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20832 Page 117 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                     MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                             FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                       MPT0007311]
frames to be interpolated for                “To reconstruct the temporally subsampled frame, frame interpolation is performed. The
developing code that                        interpolator read the current output frame and the next decoded frame and reconstruct the
corresponds to those pels in                subsampled frame by using the interpolation vector which is sent from the VLD.” [DEFS-
blocks approximated by said                 MPT0009244]
second means that differ from
corresponding pels in said                  Figures 2.2.17-5 and 2.2.17-6. [DEFS-MPT0009305-9306]
frames to be interpolated by
greater than a preselected                  Figure 2.1.2-1, including the “Various Variable Length Decoder” and “Invsese [sic] DCT 2.”
threshold.
                                            “…the coded interpolation error data of the corresponding frame is decoded ... [and] added to the
                                            interpolation frame.” [DEFS-MPT0009244]

                                            “Temporally subsampled frames are interpolated by using motion vectors in the decoder.” [DEFS-
                                            MPT0009239]

                                            Figure 2.2.17-5, including “i+u/2, j+v/2” [DEFS-MPT0009305]




                                                                                      321

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                                                                                                                                                                  Page 1034
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20833 Page 118 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Fig. 1: DCT, Quantizer, Frame Memory, VLCs, Buffer, and connections. [DEFS-MPT0007310]

                                            “General classification of the method. MC + DCT +_ Motion Compensated Frame Interpolation.”


                                                                                      322

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1035
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20834 Page 119 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                               MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                  FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                            MPT0007311]
                                            [DEFS-MPT0007533]




                                                                                      323

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                                                                                                                                                                  Page 1036
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20835 Page 120 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a: Frame Interpolation, Frame Memory, Frame Difference, Distortion detect, Select,
                                            DCT, Quantization, and connections. [DEFS-MPT0009242-9243]



                                                                                      324

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1037
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20836 Page 121 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3 (and
                                                      figures at 4, 5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-
                                                      MPT0002607-DEFS-MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-
                                                      MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 8, 9, 11; #78
                                                      [DEFS-MPT0002784-DEFS-MPT0002795] at 2, 3, 5, Annex 1, Annex 2; #81 [DEFS-
                                                      MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-
                                                      MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299


                                                                                      325

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1038
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20837 Page 122 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                   MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                                  [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                  MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at
                                                  1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R
                                                  [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of Annex 4; #317R [DEFS-
                                                  MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688, DEFS-
                                                      MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-662,
                                                      DEFS-MPT0000729, DEFS-MPT0000754-1024]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001358, DEFS-MPT0001359]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.


Claim 3
The circuit of claim 2 wherein              See, e.g.,
said code developed for a pel
by said third means represents               Figure 1.
the difference between the
value of said pel and the value
of said pel approximated by
said second means.




                                                                                      326

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1039
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20838 Page 123 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0007534]

                                            See also, DEFS-MPT0007310
                                            “5. General classification of the method
                                               3 dimensional DCT + Motion compensated frame interpolation
                                            6. Description of principal technical characteristics
                                               3D-DCT coding : Blcok size=8 pixel x8line x 4frame
                                                 Normalization of coefficient, Adaptive bit allocation
                                               Motion compensated frame interpolation (block=8 x 8)”

                                            “5. General classification of the method



                                                                                      327

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1040
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20839 Page 124 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                              FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                        MPT0007311]
                                               MC + DCT + Motion Compensated Frame Interpolation
                                            6. Description of principal technical characteristics
                                               Motion compensated interframe prediction (block= 16 X 16)
                                               DCT coding : block size=8 x 8 Adaptive quantization
                                               Motion compensated frame interpolation (block=8 x 8)”
                                            [DEFS-MPT0007311]

                                            “The decoder receive the bitstream .. and process the coded data and reconstruct the image ....”
                                            [DEFS-MPT0009243]

                                            “Every 5 coding frame from the first frame is set to be refresh frame. Subsequent 4 coding frames
                                            after the refresh frame are coded by the interframe mode or intraframe
                                            mode.” [DEFS-MPT0009243]

                                            “Subsection 2.2.2, “Block construction” [DEFS-MPT0009248]

                                            Figure 2.1.1-1a, including output line “B” and Figure 2.1.1-1b. [DEFS-MPT0009243].

                                            “In the interframe prediction mode the block of the current frame is subtracted by the selected
                                            block of the previous frame.... The output ... is then transformed by DCT.” [DEFS-MPT0009241]

                                            Figure 2.2.1-1 a, including output line “E” and Figure 2.1.1-lb. [DEFS-MPT0009243].

                                            “…the coded interpolation error data ... the error data of the specified block is added to the
                                            interpolation frame.” [DEFS-MPT0009244]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1041
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20840 Page 125 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                                                                      329

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1042
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20841 Page 126 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0009242-9243]




                                                                                      330

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1043
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20842 Page 127 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0009242-9243]



                                            See also one or more of the following references, in combination with Document #78, to show
                                            obviousness of this element:

                                                 x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 4, 5; #51 at 1, 2, 3; #66 at 1, 2; #67 at 1, 8,
                                                      9, 11; #81 at 1, 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex 1, 12;
                                                      #54R at 1, 6, 7, 9; #74R at 1, 3, 5, 6, 7, 11; #103R at 3, 11, 3 of Annex 4; #317R at 9, 11
                                                      Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688, DEFS-
                                                      MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-662,
                                                      DEFS-MPT0000729]



                                                                                      331

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1044
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20843 Page 128 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                       FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                 MPT0007311]
                                               x U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                  MPT0001358, DEFS-MPT0001359]
                                                   x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                        MPT0001208, DEFS-MPT0001209-1210]
Claim 4
The circuit of claim 2 wherein              See, e.g., Figure 2.1.2-1, including Variable Length Decoder, Inverse DCT 1, Frame Reconstructor,
the frames selected for                     and Motion Compensation circuit.
combining in said second
means include a frame encoded               “In the interframe mode, the output block data of the inverse DCT is added to the motion
in said first means that                    compensated and filtered (when filter is on) block data of the previous frame each pixel by each
precedes the frame                          pixel.... The same process is repeated in the whole blocks and finally the picture frame is
approximated in said second                 reconstructed.” [DEFS-MPT0009243]
means and a frame encoded in
said first means that succeeds              “…motion estimator detect the motion vector between the block of the current frame and a block of
the frame approximated in said              the previous frame.” [DEFS-MPT0009241]
means.




                                            Fig. 2: Interpolator, Frame Memory. [DEFS-MPT0007310]



                                                                                      332

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1045
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20844 Page 129 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a: Frame Interpolation, and connections. [DEFS-MPT0009242-9243]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1046
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20845 Page 130 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 1,4; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                      [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4, 11; #78 [DEFS-MPT0002784-
                                                      DEFS-MPT0002795] at 3, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1,
                                                      2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-
                                                      DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2;
                                                      #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1047
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20846 Page 131 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                 MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                           FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                     MPT0007311]
                                                  MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                  MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3,
                                                  11, 3 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14
                                                  Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                      MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000729]
                                                 x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-
                                                      MPT0001027-1052]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001358, DEFS-MPT0001359]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000032, 33.


Claim 5
The circuit of claim 4 wherein              See, e.g.,
said combining includes
developing anticipated                      Figure 1.
versions of said blocks.




                                                                                      335

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1048
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20847 Page 132 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            “5. General classification of the method
                                               3 dimensional DCT + Motion compensated frame interpolation
                                            6. Description of principal technical characteristics
                                               3D-DCT coding : Blcok size=8 pixel x8line x 4frame
                                                 Normalization of coefficient, Adaptive bit allocation
                                               Motion compensated frame interpolation (block=8 x 8)”
                                            [DEFS-MPT0007310]

                                            “5. General classification of the method
                                               MC + DCT + Motion Compensated Frame Interpolation
                                            6. Description of principal technical characteristics



                                                                                      336

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1049
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20848 Page 133 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                  MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                          FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                    MPT0007311]
                                              Motion compensated interframe prediction (block= 16 X 16)
                                              DCT coding : block size=8 x 8 Adaptive quantization
                                              Motion compensated frame interpolation (block=8 x 8)”
                                            [DEFS-MPT0007311]

                                            “The decoder receive the bitstream .. and process the coded data and reconstruct the image ....”
                                            [DEFS-MPT0009243]

                                            “Every 5 coding frame from the first frame is set to be refresh frame. Subsequent 4 coding frames
                                            after the refresh frame are coded by the interframe mode or intraframe
                                            mode.” [DEFS-MPT0009243]

                                            “Subsection 2.2.2, ‘Block construction’). [DEFS-MPT0009248]

                                            “Figure 2.1.1-1a, including output line “B” and Figure 2.1.1-1b. [DEFS-MPT0009243]

                                            “In the interframe prediction mode the block of the current frame is subtracted by the selected
                                            block of the previous frame.... The output ... is then transformed by DCT.” [DEFS-MPT0009241]

                                            Figure 2.2.1-1 a, including output line “E” and Figure 2.1.1-lb. [DEFS-MPT0009243]

                                            “…the coded interpolation error data ... the error data of the specified block is added to the
                                            interpolation frame.” [DEFS-MPT0009244]




                                                                                      337

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1050
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20849 Page 134 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1051
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20850 Page 135 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0009242-9243]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1052
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20851 Page 136 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0009242-9243]



                                            See also one or more of the following references, in combination with Document #78, to show
                                            obviousness of this element:

                                                 x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 1, 4, 5; #51 at 1, 2, 3; #66 at 1, 2; #67 at 1,
                                                      7, 11; #81 at 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex 1, 12;
                                                      #54R at 1, 6, 7, 9; #74R at 1, 3, 5, 6, 7, 11; #103R at 10, 3, 11, 3 of Annex 4; #317R at 9, 11
                                                      Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                      MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668,
                                                      DEFS-MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1053
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20852 Page 137 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                               x Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                  MPT0001027-1052]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
Claim 6
The circuit of claim 2 wherein              See, e.g.,
a set proportion of frames of
said applied video signals are              Figure 2.1.2-1, including Variable Length Decoder, Inverse DCT 1, Frame Reconstructor, and
interpolated.                               Motion Compensation circuit.

                                            “In the interframe mode, the output block data of the inverse DCT is added to the motion
                                            compensated and filtered (when filter is on) block data of the previous frame each pixel by each
                                            pixel.... The same process is repeated in the whole blocks and finally the picture frame is
                                            reconstructed.” [DEFS-MPT0009243]

                                            “…motion estimator detect the motion vector between the block of the current frame and a block of
                                            the previous frame.” [DEFS-MPT0009241]

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                      [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 7, 8, 9, 11; #78 [DEFS-MPT0002784-
                                                      DEFS-MPT0002795] at 2, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2;


                                                                                      341

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1054
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20853 Page 138 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                           FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                     MPT0007311]
                                                  #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-
                                                  DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2;
                                                  #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                  MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                  MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3,
                                                  11; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25
                                                  Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                      MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001358, DEFS-MPT0001359]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 33.

Claim 7
The circuit of claim 6 wherein              See e.g.,
said proportion is
approximately one half.                      2.2.7.1 Interpolation Error Calculation. [DEFS-MPT0009264]

                                            “(1) The local frame interpolation is performed in the encoder in order to get the frame
                                            interpolation error in the unit of the block. This interpolation process in described in 2.2.17.

                                            (2) The block error magnitude, the frame interpolation error in the unit of the block is defined as
                                            follows


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1055
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20854 Page 139 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            [DEFS-MPT0009264]




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                                                                                                                                                                  Page 1056
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20855 Page 140 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                             FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                       MPT0007311]
                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                      [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 7, 8, 9, 11; #78 [DEFS-MPT0002784-
                                                      DEFS-MPT0002795] at 2, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2;
                                                      #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-
                                                      DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2;
                                                      #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                      MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                      MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3,
                                                      11; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25
                                                      Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000643, DEFS-MPT0000644]
                                                 x    Musmann et al. - Advances in Picture Coding at 544 [DEFS-MPT0001027-1052]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001358]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000033.

Claim 8
The circuit of claim 2 further              See e.g.,
comprising buffer means for
interposed between the codes


                                                                                      344

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1057
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20856 Page 141 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]
developed by said means for
encoding and said third means
and an output port of said
circuit.




                                            Fig. 1: Buffer, and connections. [DEFS-MPT0007310]

                                            [DEFS-MPT0009274]
                                            Distribution of codes be decided by the quality of reconstructed images. Codes distribution is
                                            described as follows:
                                               For refresh frame coding 130 kbits
                                               For interframe coding       140 kbits/4frames
                                               For interpolation coding    130 kbits/5frames
                                                 Total                    300kbits
                                            To ensure above bitrate for each coding, feedback control is introduced in refresh frame coding,
                                            interframe coding and interpolation coding each. The flow chart of the encoding strategy is
                                            depicted in figure 2.2.10-1



                                                                                      345

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1058
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20857 Page 142 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a: A. [DEFS-MPT0009242-9243]



                                                                                      346

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1059
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20858 Page 143 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1, 2, 4, 6; #61
                                                      [DEFS-MPT0002662-DEFS-MPT0002671] at 3, Annex 2, Annex 4; #66 [DEFS-
                                                      MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                      MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at Annex 2;
                                                      #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-


                                                                                      347

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1060
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20859 Page 144 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                                  MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] 1, 2, 3; #299
                                                  [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                  MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at
                                                  1, 6, 7, 8, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R
                                                  [DEFS-MPT0002935-DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex
                                                  3, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12
                                                  Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000729, DEFS-MPT0000731-733,
                                                      DEFS-MPT0000758]


Claim 11
The circuit of claim 7 wherein              MATSUSHITA discloses, teaches, and/or suggests that granularity of the codes generated by said
granularity of the codes                    first means and said third means is controlled by the occupancy level of said buffer.
generated by said first means
and said third means is                     See, e.g., Figure 1. [DEFS-MPT0007534]
controlled by the occupancy
level of said buffer.




                                                                                      348

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1061
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20860 Page 145 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Fig. 1: Buffer, Quantizer, and connections. [DEFS-MPT0007310]

                                            See e.g., DEFS-MPT0009274
                                            Distribution of codes be decided by the quality of reconstructed images. Codes distribution is
                                            described as follows:
                                               For refresh frame coding 130 kbits
                                               For interframe coding       140 kbits/4frames
                                               For interpolation coding    130 kbits/5frames
                                                 Total                    300kbits
                                            To ensure above bitrate for each coding, feedback control is introduced in refresh frame coding,
                                            interframe coding and interpolation coding each. The flow chart of the encoding strategy is



                                                                                      349

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1062
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20861 Page 146 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                     MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                            depicted in figure 2.2.10-1




                                                                                      350

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1063
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20862 Page 147 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]
                                            [DEFS-MPT0009242-9243]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1, 2, 4, and 6;
                                                      #61 [DEFS-MPT0002662-DEFS-MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-
                                                      MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                      MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at Annex 2;


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1064
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20863 Page 148 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                        FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                  MPT0007311]
                                                  #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-
                                                  MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3; #299
                                                  [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                  MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at
                                                  1, 6, 7, 8, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R
                                                  [DEFS-MPT0002935-DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex
                                                  3, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12
                                                  Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000638, DEFS-MPT0000641, DEFS-
                                                      MPT0000643]


Claim 12
A circuit responsive to coded               MATSUSHITA discloses, teaches, and/or suggests a circuit responsive to coded video signals
video signals where the video               where the video signals comprise successive frames and each frame includes a plurality of blocks
signals comprise successive                 and where the coded video signals comprise codes that describe deviations from approximated
frames and each frame                       blocks and codes that describe deviations from interpolated blocks.
includes a plurality of blocks
and where the coded video                   See, e.g., “The decoder receive the bitstream .. and process the coded data and reconstruct the
signals comprise codes that                 image ....” [DEFS-MPT0009243]
describe deviations from
approximated blocks and codes               See also, Figure 1.
that describe deviations from
interpolated blocks,                        “Every 5 coding frame from the first frame is set to be refresh frame. Subsequent 4 coding frames
comprising:                                 after the refresh frame are coded by the interframe mode or intraframe
                                            mode.” [DEFS-MPT0009243]



                                                                                      352

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1065
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20864 Page 149 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                   MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                           FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                     MPT0007311]
                                            Subsection 2.2.2, “Block construction” [DEFS-MPT0009248]

                                            Figure 2.1.1-1a, including output line “B,” and Figure 2.1.1-1b. [DEFS-MPT0009243]

                                            “In the interframe prediction mode the block of the current frame is subtracted by the selected
                                            block of the previous frame.... The output ... is then transformed by DCT.” [DEFS-MPT0009241]

                                            “Figure 2.2.1-1 a, including output line “E” and Figure 2.1.1-lb. [DEFS-MPT0009243]

                                            “…the coded interpolation error data ... the error data of the specified block is added to the
                                            interpolation frame.” [DEFS-MPT0009244]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1066
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20865 Page 150 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Fig. 1: Frame Memory, Quantizer, Inverse Quantizer, Inverse DCT, , Classification, VLCs,
                                            Buffer, and connections. [DEFS-MPT0007310]

                                            Fig. 2: Buffer Demultiplexing, VLD, VLD, Inverse Quantizer, Inverse DCT, , Frame memory,
                                            and connections. [DEFS-MPT0007310]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1067
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20866 Page 151 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a : Inverse Quantization, Inverse DCT, frame Construction, Frame Memory, and
                                            connections. [DEFS-MPT0009242-9243]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1068
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20867 Page 152 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.2-1 : Buffer Deformat, Various Variable Length Decoder Dequantization, Inverse DCT
                                            1, Frame Reconstruction, Motion Compensation, Frame Memory, and connections. [DEFS-
                                            MPT0009245]

                                            See also one or more of the following references and the citations to structures and functional


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1069
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20868 Page 153 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                             FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                       MPT0007311]
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4, 5; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61
                                                      [DEFS-MPT0002662-DEFS-MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-
                                                      MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                      MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 1, 2, 4, 5,
                                                      Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-
                                                      DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 4;
                                                      #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-
                                                      DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-
                                                      MPT0002634] at 1,6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7,
                                                      11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8
                                                      of Annex 4, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9, 11
                                                      Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-
                                                      MPT0000683, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-
                                                      MPT0000651, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668,
                                                      DEFS-MPT0000669, DEFS-MPT0000747, DEFS-MPT0000747-1024]
                                                 x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                      MPT0001027-1052]
                                                 x    Jain et al. – Displacement Measurement and Its Application in Interframe Image Coding
                                                      [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1070
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20869 Page 154 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                               MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                   FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                             MPT0007311]
                                               x PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                  MPT0001208, DEFS-MPT0001209-1210]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001359]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.
means for developing block     See, e.g.,
approximations from said
codes that describe deviations Figure 2.1.2-1, including the “Various Variable Length Decoder,” the “Inverse DCT 1,” and the
from approximated blocks; and “Frame Reconstructor.” [DEFS-MPT0009243]


                                            “In the interframe mode, the output block data of the inverse DCT is added to the motion
                                            compensated and filtered (when filter is on) block data of the previous frame each pixel by each
                                            pixel.... The same process is repeated in the whole blocks and finally the picture frame is
                                            reconstructed.” [DEFS-MPT0009243]

                                            “…motion estimator detect the motion vector between the block of the current frame and a block of
                                            the previous frame.” [DEFS-MPT0009241]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1071
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20870 Page 155 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Fig. 1: Frame Memory, Quantizer, Inverse Quantizer, Inverse DCT, , Classification, VLCs,
                                            Buffer, and connections. [DEFS-MPT0007310]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1072
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20871 Page 156 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                   MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                         FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                   MPT0007311]
                                            Fig. 2: Buffer Demultiplexing, VLD, VLD, Inverse Quantizer, Inverse DCT, , Frame memory,
                                            and connections. [DEFS-MPT0007310]




                                                                                      360

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1073
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20872 Page 157 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a : Inverse Quantization, Inverse DCT, frame Construction, Frame Memory, and
                                            connections. [DEFS-MPT0009242-9243]



                                                                                      361

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1074
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20873 Page 158 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.2-1 : Frame Memories, Frame Interpolation, Error Compensation, Switch, and
                                            connections. [DEFS-MPT0009245.]

                                            See also one or more of the following references and the citations to structures and functional


                                                                                      362

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1075
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20874 Page 159 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                    MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                             FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                       MPT0007311]
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61
                                                      [DEFS-MPT0002662-DEFS-MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-
                                                      MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                      MPT0002723] at 1, 2, 7; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 3, 5, Annex 1;
                                                      #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-
                                                      MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299
                                                      [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                      MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at
                                                      1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R
                                                      [DEFS-MPT0002935-DEFS-MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-
                                                      MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-
                                                      MPT0000683, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-
                                                      MPT0000651, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668,
                                                      DEFS-MPT0000669, DEFS-MPT0000747, DEFS-MPT0000731-1024]
                                                 x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-
                                                      MPT0001027-1052]
                                                 x    Jain et al. – Displacement Measurement and Its Application in Interframe Image Coding
                                                      [DEFS-MPT0000325-334 at DEFS-MPT0000329, DEFS-MPT0000333]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-


                                                                                      363

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1076
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20875 Page 160 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                               MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                  FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                            MPT0007311]
                                                  MPT0001359]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.

means responsive to said block              See, e.g.,
approximations and to said
codes that describe deviations              “…the coded interpolation error data of the corresponding frame is decoded ... [and] added to the
from interpolated blocks to                 interpolation frame.” [DEFS-MPT0009244]
develop said interpolated
blocks.                                     Figure 2.1.2-1, including, “Various Variable Length Decoder” and “Invsese [sic] DCT 2.”

                                            “Temporally subsampled frames are interpolated by using motion vectors in the decoder.” [DEFS-
                                            MPT0009239]

                                            Figure 2.2.17-5, including “i+u/2, j+v/2.” [DEFS-MPT0009305]

                                            See also [equation at DEFS-MPT0009304]

                                             “To reconstruct the temporally subsampled frame, frame interpolation is performed. The
                                            interpolator read the current output frame and the next decoded frame and reconstruct the
                                            subsampled frame by using the interpolation vector which is sent from the VLD.” [DEFS-
                                            MPT0009244]

                                            Figures 2.2.17-5 and 2.2.17-6. [DEFS-MPT0009305-9306]



                                                                                      364

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1077
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20876 Page 161 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1a : Frame Interpolation, Inverse DCT, Inverse Quantization, and connections.
                                            [DEFS-MPT0009242-9243]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1078
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20877 Page 162 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.1-1b : Variable Length Coding, Buffer Formatter, and connections. [DEFS-
                                            MPT0009242-9243]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1079
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20878 Page 163 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Figure 2.1.2-1 : Dequantization 2, Inverse DCT 2 Error Compensation, Error Compensation,
                                            Swith, and connections. [DEFS-MPT0009245.]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1080
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20879 Page 164 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]




                                            Fig. 1: Frame Memory, Quantizer, Inverse Quantizer, Inverse DCT, , Classification, VLCs,
                                            Buffer, and connections. [DEFS-MPT0007310]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1081
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20880 Page 165 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                                                   MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                            FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                                      MPT0007311]
                                            Fig. 2: Buffer, Demultiplexing, VLD, Interpolator, Inverse Quantizer, Inverse DCT, , Frame
                                            memory, and connections. [DEFS-MPT0007310]

                                            “General classification of the method. MC + DCT + Motion Compensated Frame Interpolation.”

                                            See also one or more of the following references and the citations to structures and functional
                                            language in their corresponding charts, in combination with MATSUSHITA, to show obviousness
                                            of this element:

                                                 x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2, 3; #43
                                                      [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-MPT0002607-DEFS-
                                                      MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                      [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 8, 9, 11; #78 [DEFS-MPT0002784-
                                                      DEFS-MPT0002795] at 3, 5; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87
                                                      [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                      MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R
                                                      [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-
                                                      MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                      MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3,
                                                      11, 3 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14
                                                      Annex 1, 25 Annex 5, 32-33
                                                 x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000684-DEFS-
                                                      MPT0000688, DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-
                                                      MPT0000651, DEFS-MPT0000653, DEFS-MPT0000655, DEFS-MPT0000661-662,
                                                      DEFS-MPT0000668, DEFS-MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797,
                                                      DEFS-MPT0000805, DEFS-MPT0000756, DEFS-MPT0000824, DEFS-MPT0000754-



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1082
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20881 Page 166 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                                              MATSUSHITA MPEG SUBMISSIONS (“MATSUSHITA”)
4,958,226                                                                 FEBRUARY 1989
CLAIM LANGUAGE                               [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534; DEFS-MPT0007310-DEFS-
                                                                           MPT0007311]
                                                  1024]
                                                 x    Jain et al. – Displacement Measurement and Its Application in Interframe Image Coding
                                                      [DEFS-MPT0000325-334 at DEFS-MPT0000329]
                                                 x    Musmann et al. - Advances in Picture Coding 537-541 and 542-545 [DEFS-MPT0001027-
                                                      1052]
                                                 x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357, DEFS-
                                                      MPT0001359]
                                                 x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-
                                                      MPT0001208, DEFS-MPT0001209-1210]
                                                 x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1083
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20882 Page 167 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.




U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                  AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
Claim 2
A circuit for encoding applied             See, e.g.,
video signals that comprise
successive frames, where                   Motion Compensated lnterframe Hybrid Coding
each frame is divided into
blocks, including means for                Once the motion trajectories of all the pixels are known, various image coding techniques [9], [10] can be
encoding the blocks of some                applied by adapting them along these trajectories. For example, in predictive techniques (DPCM or hybrid
of said frames by developing               coding) the predictor will use pixels that lie on the motion trajectory. For three-dimensional transform coding,
for each block of such frames              one would select spatial blocks which lie on the motion trajectory. [DEFS-MPT0000329]
(a) an approximated version
of said block derived from an              Although we have primarily used motion compensation with hybrid coding, it can be used in conjunction with
approximated version of said               three-dimensional DPCM as well as with three-dimensional transform coding. With DPCM, the algorithm
block developed for a                      would differ from that of Fig. 9 only in that the two-dimensional prediction error sequence ek(m, n) will be
previous frame, and (b) a                  coded by II two-dimensional DPCM coder (rather than the transform coder used in Fig. 9). This will reduce
code which represents the                  the coder complexity as well as its performance much in the same way as two-dimensional DPCM does with
deviation of said block from               respect to two-dimensional transform coding. Use of the displacement vector in three-dimensional transform
said approximated version of               coding is possible but would increase the complexity too much. Compared to three-dimensional adaptive
said block, the improvement                transform coding (using a classification method similar to the one used here). the motion compensated
comprising:                                adaptive hybrid coding has lower complexity and gives higher SNR. [DEFS-MPT0000333]




                                                                                      542

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1084
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20883 Page 168 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           Figure 9: Frame Memory, Search of Optimal Displacement, Memory Frame, 2-D DCT, +/-, Quantizer, 2-D
                                           DCT-1, and connection. [DEFS-MPT0000333]

                                           Frame Interpolation

                                           u2k*(m,n) = 1/2 {u2k-1(m,n)+u2k+1(m,n)}

                                           The disadvantages of frame repetition and interpolation can be overcome by predicting or interpolating the
                                           pixels of the skipped frame along its motion trajectory. Thus, with motion compensation, (22) and (23) are
                                           replaced by




                                                                                      543

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1085
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20884 Page 169 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           u2k*(m,n) = u2k-1(m+q, n+1)

                                           and

                                           u2k*(m,n) = 1/2 {u2k-1(m+q,n+1)+u2k+1(m+q’, n+1’)}

                                           respectively, where (q, l) and (q',l') are the coordinates of the displacement vectors of Uu relative to the
                                           preceding and the following frames, respectively.

                                           Figs. 4 and S show the results of data compression via frame skipping on typical frames of the two image sets.
                                           With motion compensation the SNR improves by about 10 dB, which is quite significant. [DEFS-
                                           MPT0000329]


                                           In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                                           being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                                           represented by an interpolated value of the respective spatially corresponding picture elements in the
                                           preceding and succeeding fields. The difference between the interpolated value and each corresponding
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




                                                                                      544

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1086
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20885 Page 170 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon


                                                                                      545

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1087
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20886 Page 171 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                          US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]

                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3 (and figures at 4,
                                                     5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 1, 4, 5; #51 [DEFS-MPT0002607-DEFS-
                                                     MPT0002611] at 1, 2, 3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61 [DEFS-
                                                     MPT0002662-DEFS-MPT0002671] at 1-8; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2;
                                                     #67 [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-
                                                     MPT0002795] at 1, 2, 3, 5, Annex 1, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1,
                                                     2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                     MPT0002850] at 1, 2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                     MPT0002426-DEFS-MPT0002440] at 1, 7, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at
                                                     1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-
                                                     MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of Annex 4, 9 of Annex 4;
                                                     #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 32-


                                                                                      546

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1088
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20887 Page 172 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     33.
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-MPT0000683,
                                                     DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                     MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                     MPT0000731-1024, DEFS-MPT0000731, DEFS-MPT0000747-1024, DEFS-MPT0000747]
                                                x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-MPT0001027-DEFS-
                                                     MPT0001052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0007310, 7311, 9241, 9242, 9243, 9244,
                                                     9248.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.


second means for                           See, e.g.,
approximating the blocks of
those of said frames that are
to be interpolated by                      Frame Interpolation
combining approximated
versions of said blocks in                 u2k*(m,n) = 1/2 {u2k-1(m,n)+u2k+1(m,n)}
selected ones of the frames
that are encoded in said                   The disadvantages of frame repetition and interpolation can be overcome by predicting or interpolating the
means for encoding; and                    pixels of the skipped frame along its motion trajectory. Thus, with motion compensation, (22) and (23) are
                                           replaced by


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1089
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20888 Page 173 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362

                                           u2k*(m,n) = u2k-1(m+q, n+1)

                                           and

                                           u2k*(m,n) = 1/2 {u2k-1(m+q,n+1)+u2k+1(m+q’, n+1’)}

                                           respectively, where (q, l) and (q',l') are the coordinates of the displacement vectors of Uu relative to the
                                           preceding and the following frames, respectively.

                                           Figs. 4 and S show the results of data compression via frame skipping on typical frames of the two image sets.
                                           With motion compensation the SNR improves by about 10 dB, which is quite significant. [DEFS-
                                           MPT0000329]


                                           In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                                           being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                                           represented by an interpolated value of the respective spatially corresponding picture elements in the
                                           preceding and succeeding fields. The difference between the interpolated value and each corresponding
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




                                                                                      548

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1090
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20889 Page 174 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, Interpolator 106, and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1091
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20890 Page 175 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                          US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]


                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3 (and figures at 4,
                                                     5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4,5; #51 [DEFS-MPT0002607-DEFS-
                                                     MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-
                                                     MPT0002713-DEFS-MPT0002723] at 1, 7; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 2, 3, 5,
                                                     Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-
                                                     MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-
                                                     MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7,
                                                     10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-
                                                     MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-
                                                     MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex


                                                                                      550

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1092
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20891 Page 176 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                             US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     1, 14 Annex 1, 25 Annex 5, 32-33.
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000684-DEFS-MPT0000688,
                                                     DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                     MPT0000653, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                     MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805, DEFS-
                                                     MPT0000756, DEFS-MPT0000824, DEFS-MPT0000754-1024]
                                                x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009243, 7310, 9242, 9243.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.

third means responsive to said             See, e.g.,
second means and to said
frames to be interpolated for              In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
developing code that                       being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
corresponds to those pels in               represented by an interpolated value of the respective spatially corresponding picture elements in the
blocks approximated by said                preceding and succeeding fields. The difference between the interpolated value and each corresponding
second means that differ from              picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
corresponding pels in said                 fields. [DEFS-MPT0001358]
frames to be interpolated by
greater than a preselected
threshold.


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1093
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20892 Page 177 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, Interpolator 106, Subtractor 107, Quantizer 108 and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1094
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20893 Page 178 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]


                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3 (and figures at 4,
                                                     5); #43 [DEFS-MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-MPT0002607-DEFS-
                                                     MPT0002611] at 1, 2, 3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-
                                                     MPT0002713-DEFS-MPT0002723] at 1, 8, 9, 11; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at
                                                     2, 3, 5, Annex 1, Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-
                                                     MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2,
                                                     3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                     MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9;
                                                     #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-
                                                     DEFS-MPT0002971] at 3, 11, 3 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9,
                                                     11 Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688, DEFS-MPT0000643,


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1095
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20894 Page 179 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-662, DEFS-MPT0000729, DEFS-
                                                     MPT0000754-1024]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009244, 9305, 9306, 9239, 7310, 7533,
                                                     9242, 9243.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.

Claim 3
The circuit of claim 2 wherein             See, e.g.,
said code developed for a pel
by said third means represents             In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
the difference between the                 being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
value of said pel and the value            represented by an interpolated value of the respective spatially corresponding picture elements in the
of said pel approximated by                preceding and succeeding fields. The difference between the interpolated value and each corresponding
said second means.                         picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1096
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20895 Page 180 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362

                                                                                                                                                                     [DEFS-
                                                                                                                                                                     MPT0001357]

                                                                                                                                                                     In the switch 114,
                                                                                                                                                                     either the signal
                                                                                                                                                                     applied to the
                                                                                                                                                                     side-b after the
                                                                                                                                                                     quantization of
                                                                                                                                                                     the output of the
                                                                                                                                                                     subtractor 107 by
                                                                                                                                                                     the quantizer 108
                                                                                                                                                                     or the signal
                                                                                                                                                                     applied to the
                                                                                                                                                                     side-a through the
                                                                                                                                                                     line 414 is
                                                                                                                                                                     selected
                                                                                                                                                                     depending upon
                                                                                                                                                                     which one of the
                                                                                                                                                                     coding employing
                                                                                                                                                                     interpolated
                                           values and the frame-to-frame coding between two fields is executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1097
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20896 Page 181 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]


                                           See also one or more of the following references, in combination with Document #78, to show obviousness of
                                           this element:

                                                x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 4, 5; #51 at 1, 2, 3; #66 at 1, 2; #67 at 1, 8, 9, 11; #81
                                                     at 1, 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex 1, 12; #54R at 1, 6, 7, 9;
                                                     #74R at 1, 3, 5, 6, 7, 11; #103R at 3, 11, 3 of Annex 4; #317R at 9, 11 Annex 1, 14 Annex 1, 25
                                                     Annex 5, 29 Annex 29, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000684-DEFS-MPT0000688, DEFS-
                                                     MPT0000643, DEFS-MPT0000644, DEFS-MPT0000653, DEFS-MPT0000661-662, DEFS-
                                                     MPT0000729]




Claim 4
The circuit of claim 2 wherein             See, e.g.,
the frames selected for
combining in said second                   In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
means include a frame                      being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
encoded in said first means                represented by an interpolated value of the respective spatially corresponding picture elements in the
that precedes the frame                    preceding and succeeding fields. The difference between the interpolated value and each corresponding
approximated in said second                picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1098
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20897 Page 182 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                               US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
means and a frame encoded in fields. [DEFS-MPT0001358]
said first means that succeeds
the frame approximated in
said means.
                               See also one or more of the following references and the citations to structures and functional language in
                               their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                               obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 1,4; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3;
                                                     #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                     MPT0002723] at 1, 2, 3, 4, 11; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 3, Annex 1; #81
                                                     [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841]
                                                     at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                     DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1,
                                                     12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                     MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of
                                                     Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex
                                                     5, 29 Annex 29, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                     MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000729]
                                                x    Musmann et al. – Advances in Picture Coding at 537-541 and 542-545 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;


                                                                                      557

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1099
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20898 Page 183 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0007310, 9242, 9243.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000032, 33.

Claim 5
The circuit of claim 4 wherein             See one or more of the following references, in combination with Document #78, to show obviousness of this
said combining includes                    element:
developing anticipated
versions of said blocks.                        x    CCITT SGXV Documents #22 at 1, 2, 3; #43 at 1, 4, 5; #51 at 1, 2, 3; #66 at 1, 2; #67 at 1, 7, 11; #81
                                                     at 2; #87 at 1, 2, 3; #88 at 1, 2, 3, 4; #299 at 1, 2; #32R at 1, 7, 10 Annex 1, 12; #54R at 1, 6, 7, 9;
                                                     #74R at 1, 3, 5, 6, 7, 11; #103R at 10, 3, 11, 3 of Annex 4; #317R at 9, 11 Annex 1, 14 Annex 1, 25
                                                     Annex 5, 29 Annex 29, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                     MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                     MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805]
                                                x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]

Claim 6
The circuit of claim 2 wherein See e.g.
a set proportion of frames of
said applied video signals are In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
interpolated.                  being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                               represented by an interpolated value of the respective spatially corresponding picture elements in the
                               preceding and succeeding fields. The difference between the interpolated value and each corresponding


                                                                                      558

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1100
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20899 Page 184 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]

                                           For simplicity of explanation, in FIG. 1 it is assumed that m=2 and n= 1, where for every other field an
                                           interpolated value is used as the prediction value. [DEFS-MPT0001358]




                                                                                      559

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1101
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20900 Page 185 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                      US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]


                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3;
                                                     #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                     MPT0002723] at 1, 7, 8, 9, 11; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 2, Annex 2; #81
                                                     [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at
                                                     1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                     DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1,


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1102
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20901 Page 186 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                             US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                     MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11; #317R
                                                     [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29,
                                                     32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000643, DEFS-
                                                     MPT0000644, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009243, 9241.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 33.

Claim 7
The circuit of claim 6 wherein See, e.g.,
said proportion is
approximately one half.        In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                               being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                               represented by an interpolated value of the respective spatially corresponding picture elements in the
                               preceding and succeeding fields. The difference between the interpolated value and each corresponding
                               picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                               fields. [DEFS-MPT0001358]

                                           For simplicity of explanation, in FIG. 1 it is assumed that m=2 and n= 1, where for every other field an
                                           interpolated value is used as the prediction value. [DEFS-MPT0001358]



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1103
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20902 Page 187 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 4, #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2, 3;
                                                     #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                     MPT0002723] at 1, 7, 8, 9, 11; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 2, Annex 2; #81
                                                     [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at
                                                     1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-
                                                     DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1,
                                                     12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                     MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11; #317R
                                                     [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex 5, 29 Annex 29,
                                                     32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000643, DEFS-MPT0000644]
                                                x    Musmann et al. - Advances in Picture Coding at 544 [DEFS-MPT0001027-1052]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009264.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000033.


Claim 8
The circuit of claim 2 further             See, e.g.,
comprising buffer means for


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1104
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20903 Page 188 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
interposed between the codes
developed by said means for
encoding and said third means
and an output port of said
circuit.




                                           FIG 3: Buffer Memory Monitor 111, connection 1114, connection 1108, and other connections. [DEFS-
                                           MPT0001357]


                                           The output of the switch 112 is applied to a subtractor 103, where the difference between said output and the
                                           output of memory 101 fed through a line 103 is derived. The output of the subtractor 103 is fed to a quantizer


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1105
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20904 Page 189 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           104 to be quantized. and the quantizing characteristics are appropriately varied in accordance with the
                                           command signal supplied from a buffer memory monitor 111 through a line 1114. The quantizers 104 and
                                           108 may be of the type disclosed in U.S. Pat. No. 4,077,053. The output of the quantizer 104 is applied to
                                           side-a of the switch 114 and to an adder 105 via lines 414 and 405, respectively. In the switch 114, either the
                                           signal applied to the side-b after the quantization of the output of the subtractor 107 by the quantizer 108 or
                                           the signal applied to the side-a through the line 414 is selected depending upon which one of the coding
                                           employing interpolated values and the frame-to-frame coding between two fields is executed. [DEFS-
                                           MPT0001359]



                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2,
                                                     3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1, 2, 4, 6; #61 [DEFS-MPT0002662-DEFS-
                                                     MPT0002671] at 3, Annex 2, Annex 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                     [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-
                                                     MPT0002795] at Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                     MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] 1, 2,
                                                     3; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                     MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 8,
                                                     9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-
                                                     DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex 3, 9 of Annex 4; #317R [DEFS-
                                                     MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12 Annex 1, 14 Annex 1, 25 Annex 5, 29


                                                                                      564

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1106
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20905 Page 190 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     Annex 29, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000729, DEFS-MPT0000731-733, DEFS-
                                                     MPT0000758]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0007310, 9274, 9242, 9243.


Claim 11
The circuit of claim 7 wherein See, e.g.,
granularity of the codes
generated by said first means
and said third means is
controlled by the occupancy
level of said buffer.




                                                                                      565

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1107
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20906 Page 191 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           [DEFS-MPT0001357]


                                           The output of the switch 112 is applied to a subtractor 103, where the difference between said output and the
                                           output of memory 101 fed through a line 103 is derived. The output of the subtractor 103 is fed to a quantizer
                                           104 to be quantized. and the quantizing characteristics are appropriately varied in accordance with the


                                                                                      566

                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1108
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20907 Page 192 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           command signal supplied from a buffer memory monitor 111 through a line 1114. The quantizers 104 and
                                           108 may be of the type disclosed in U.S. Pat. No. 4,077,053. The output of the quantizer 104 is applied to
                                           side-a of the switch 114 and to an adder 105 via lines 414 and 405, respectively. In the switch 114, either the
                                           signal applied to the side-b after the quantization of the output of the subtractor 107 by the quantizer 108 or
                                           the signal applied to the side-a through the line 414 is selected depending upon which one of the coding
                                           employing interpolated values and the frame-to-frame coding between two fields is executed. [DEFS-
                                           MPT0001359]

                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 1, 4; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2,
                                                     3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1, 2, 4, and 6; #61 [DEFS-MPT0002662-DEFS-
                                                     MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                     [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-
                                                     MPT0002795] at Annex 2; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87 [DEFS-
                                                     MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2,
                                                     3; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                     MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 8,
                                                     9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-
                                                     DEFS-MPT0002971] at 11, 2 of Annex 1, 1 of Annex 2, 1 of Annex 3, 9 of Annex 4; #317R [DEFS-
                                                     MPT0004237-DEFS-MPT0004273] at 4, 9, 11 Annex 1, 12 Annex 1, 14 Annex 1, 25 Annex 5, 29
                                                     Annex 29, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000638, DEFS-MPT0000641, DEFS-



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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1109
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20908 Page 193 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     MPT0000643]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0007310, 9274, 9242, 9243.


Claim 12
A circuit responsive to coded              See, e.g.,
video signals where the video
signals comprise successive                Motion Compensated lnterframe Hybrid Coding
frames and each frame
includes a plurality of blocks             Once the motion trajectories of all the pixels are known, various image coding techniques [9], [10] can be
and where the coded video                  applied by adapting them along these trajectories. For example, in predictive techniques (DPCM or hybrid
signals comprise codes that                coding) the predictor will use pixels that lie on the motion trajectory. For three-dimensional transform coding,
describe deviations from                   one would select spatial blocks which lie on the motion trajectory. [DEFS-MPT0000329]
approximated blocks and
codes that describe deviations             Although we have primarily used motion compensation with hybrid coding, it can be used in conjunction with
from interpolated blocks,                  three-dimensional DPCM as well as with three-dimensional transform coding. With DPCM, the algorithm
comprising:                                would differ from that of Fig. 9 only in that the two-dimensional prediction error sequence ek(m, n) will be
                                           coded by II two-dimensional DPCM coder (rather than the transform coder used in Fig. 9). This will reduce
                                           the coder complexity as well as its performance much in the same way as two-dimensional DPCM does with
                                           respect to two-dimensional transform coding. Use of the displacement vector in three-dimensional transform
                                           coding is possible but would increase the complexity too much. Compared to three-dimensional adaptive
                                           transform coding (using a classification method similar to the one used here). the motion compensated
                                           adaptive hybrid coding has lower complexity and gives higher SNR. [DEFS-MPT0000333]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1110
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20909 Page 194 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           Figure 9: Frame Memory, Search of Optimal Displacement, Memory Frame, 2-D DCT, +/-, Quantizer, 2-D
                                           DCT-1, and connection. [DEFS-MPT0000333]

                                           Frame Interpolation

                                           u2k*(m,n) = 1/2 {u2k-1(m,n)+u2k+1(m,n)}

                                           The disadvantages of frame repetition and interpolation can be overcome by predicting or interpolating the
                                           pixels of the skipped frame along its motion trajectory. Thus, with motion compensation, (22) and (23) are
                                           replaced by




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1111
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20910 Page 195 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           u2k*(m,n) = u2k-1(m+q, n+1)

                                           and

                                           u2k*(m,n) = 1/2 {u2k-1(m+q,n+1)+u2k+1(m+q’, n+1’)}

                                           respectively, where (q, l) and (q',l') are the coordinates of the displacement vectors of Uu relative to the
                                           preceding and the following frames, respectively.

                                           Figs. 4 and S show the results of data compression via frame skipping on typical frames of the two image sets.
                                           With motion compensation the SNR improves by about 10 dB, which is quite significant. [DEFS-
                                           MPT0000329]


                                           In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                                           being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                                           represented by an interpolated value of the respective spatially corresponding picture elements in the
                                           preceding and succeeding fields. The difference between the interpolated value and each corresponding
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1112
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20911 Page 196 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1113
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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]



                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 1, 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 1, 4, 5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2,
                                                     3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-
                                                     MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                     [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 3, 4; #78 [DEFS-MPT0002784-DEFS-
                                                     MPT0002795] at 1, 2, 4, 5, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 2; #87
                                                     [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-
                                                     MPT0002850] at 1, 2, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-
                                                     MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-
                                                     MPT0002634] at 1,6, 7, 9; #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11;
                                                     #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 10, 2 of Annex 3, 3 of Annex 4, 8 of Annex 4, 9


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1114
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20913 Page 198 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 1, 9, 11 Annex 1, 14 Annex 1, 25
                                                     Annex 5, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-MPT0000683,
                                                     DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                     MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                     MPT0000747, DEFS-MPT0000747-1024]
                                                x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009243, 9248, 9241, 9244, 7310, 9245.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.


means for developing block                 See, e.g.,
approximations from said
codes that describe deviations             Motion Compensated lnterframe Hybrid Coding
from approximated blocks;
and                                        Once the motion trajectories of all the pixels are known, various image coding techniques [9], [10] can be
                                           applied by adapting them along these trajectories. For example, in predictive techniques (DPCM or hybrid
                                           coding) the predictor will use pixels that lie on the motion trajectory. For three-dimensional transform coding,
                                           one would select spatial blocks which lie on the motion trajectory. [DEFS-MPT0000329]

                                           Although we have primarily used motion compensation with hybrid coding, it can be used in conjunction with
                                           three-dimensional DPCM as well as with three-dimensional transform coding. With DPCM, the algorithm


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1115
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20914 Page 199 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           would differ from that of Fig. 9 only in that the two-dimensional prediction error sequence ek(m, n) will be
                                           coded by II two-dimensional DPCM coder (rather than the transform coder used in Fig. 9). This will reduce
                                           the coder complexity as well as its performance much in the same way as two-dimensional DPCM does with
                                           respect to two-dimensional transform coding. Use of the displacement vector in three-dimensional transform
                                           coding is possible but would increase the complexity too much. Compared to three-dimensional adaptive
                                           transform coding (using a classification method similar to the one used here). the motion compensated
                                           adaptive hybrid coding has lower complexity and gives higher SNR. [DEFS-MPT0000333]




                                           Figure 9: Frame Memory, Search of Optimal Displacement, Memory Frame, 2-D DCT, +/-, Quantizer, 2-D
                                           DCT-1, and connection. [DEFS-MPT0000333]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1116
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20915 Page 200 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                                           being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                                           represented by an interpolated value of the respective spatially corresponding picture elements in the
                                           preceding and succeeding fields. The difference between the interpolated value and each corresponding
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1117
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20916 Page 201 of
                                                          208
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, Interpolator 106, and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1118
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20917 Page 202 of
                                                          208
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]




                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2,
                                                     3; #60 [DEFS-MPT0002656-DEFS-MPT0002661] at 1-3, and 6; #61 [DEFS-MPT0002662-DEFS-
                                                     MPT0002671] at 3, Annex at 2 and 4; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67
                                                     [DEFS-MPT0002713-DEFS-MPT0002723] at 1, 2, 7; #78 [DEFS-MPT0002784-DEFS-
                                                     MPT0002795] at 3, 5, Annex 1; #81 [DEFS-MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-
                                                     MPT0002839-DEFS-MPT0002841] at 1, 2, 3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2,
                                                     3, 4; #299 [DEFS-MPT0004149-DEFS-MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-
                                                     MPT0002440] at 1, 7, 10 Annex 1, 12; #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9;


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1119
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20918 Page 203 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                            US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     #74R [DEFS-MPT0002740-DEFS-MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-
                                                     DEFS-MPT0002971] at 11, 9 of Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11
                                                     Annex 1, 14 Annex 1, 25 Annex 5, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000681-DEFS-MPT0000683,
                                                     DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-
                                                     MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-MPT0000669, DEFS-
                                                     MPT0000747, DEFS-MPT0000731-1024]
                                                x    Musmann et al. – Advances in Picture Coding at 530, 531, and 535-541 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009243, 9241, 7310, 9242, 9245.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.

means responsive to said                   See, e.g.,
block approximations and to
said codes that describe                   Frame Interpolation
deviations from interpolated
blocks to develop said                     u2k*(m,n) = 1/2 {u2k-1(m,n)+u2k+1(m,n)}
interpolated blocks.
                                           The disadvantages of frame repetition and interpolation can be overcome by predicting or interpolating the
                                           pixels of the skipped frame along its motion trajectory. Thus, with motion compensation, (22) and (23) are
                                           replaced by




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1120
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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           u2k*(m,n) = u2k-1(m+q, n+1)

                                           and

                                           u2k*(m,n) = 1/2 {u2k-1(m+q,n+1)+u2k+1(m+q’, n+1’)}

                                           respectively, where (q, l) and (q',l') are the coordinates of the displacement vectors of Uu relative to the
                                           preceding and the following frames, respectively.

                                           Figs. 4 and S show the results of data compression via frame skipping on typical frames of the two image sets.
                                           With motion compensation the SNR improves by about 10 dB, which is quite significant. [DEFS-
                                           MPT0000329]


                                           In the television signal coder according to the present invention, n fields are selected for every m fields (m, n
                                           being positive integers; m>n), and a predicted signal level for each picture element in the n fields is
                                           represented by an interpolated value of the respective spatially corresponding picture elements in the
                                           preceding and succeeding fields. The difference between the interpolated value and each corresponding
                                           picture element, i.e. the prediction error, is coded and transmitted as a generated information among the n
                                           fields. [DEFS-MPT0001358]




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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1121
                     Case 3:10-cv-02618-H-KSC Document 390-8 Filed 10/12/12 PageID.20920 Page 205 of
                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
disclosed structures meet the claim limitations as properly construed. No Defendant infringes any MPT patent. If MPT tries to use this document to support any allegation of
infringement, that would be misleading, false, and wrong.


U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362




                                           FIG 3: Field Memory 102, Switch 112, Subtractor 103, Quantizer 104, Adder 105, Switch 114, Field Memory
                                           101, Interpolator 106, Subtractor 107, Quantizer 108 and connections. [DEFS-MPT0001357]

                                           In the switch 114, either the signal applied to the side-b after the quantization of the output of the subtractor
                                           107 by the quantizer 108 or the signal applied to the side-a through the line 414 is selected depending upon
                                           which one of the coding employing interpolated values and the frame-to-frame coding between two fields is


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                                                                                                                                                                  Exhibit 6
                                                                                                                                                                  Page 1122
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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                                US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                           executed.

                                           The adder 105 produces a locally decoded signal in the frame-to-frame coding by taking the sum of the
                                           signals applied through lines 405 and 1105, and the output is applied to the side-a of the switch 113 and to an
                                           interpolator circuit 106 through lines 513 and 506, respectively. In the switch 113, the side-a input is selected
                                           for the frame-to-frame coding, while the side-b input is selected for the coding employing interpolated values
                                           between two fields. The output of the switch 113 is fed to the memory 101. In the interpolator 106,
                                           interpolated values are calculated from the signals of two fields fed through lines 1106 and 506, respectively,
                                           and the result is applied to the subtractor 107. [DEFS-MPT0001359]

                                           See also one or more of the following references and the citations to structures and functional language in
                                           their corresponding charts, in combination with JAIN & JAIN and U.S. Patent No. 4,202,011, to show
                                           obviousness of this element:

                                                x    CCITT SGXV Documents #22 [DEFS-MPT0002391-DEFS-MPT0002395] at 2, 3; #43 [DEFS-
                                                     MPT0002497-DEFS-MPT0002511] at 4, 5; #51 [DEFS-MPT0002607-DEFS-MPT0002611] at 1, 2,
                                                     3; #66 [DEFS-MPT0002709-DEFS-MPT0002712] at 1, 2; #67 [DEFS-MPT0002713-DEFS-
                                                     MPT0002723] at 1, 2, 8, 9, 11; #78 [DEFS-MPT0002784-DEFS-MPT0002795] at 3, 5; #81 [DEFS-
                                                     MPT0002817-DEFS-MPT0002820] at 1, 2; #87 [DEFS-MPT0002839-DEFS-MPT0002841] at 1, 2,
                                                     3; #88 [DEFS-MPT0002842-DEFS-MPT0002850] at 1, 2, 3, 4; #299 [DEFS-MPT0004149-DEFS-
                                                     MPT0004150] at 1, 2; #32R [DEFS-MPT0002426-DEFS-MPT0002440] at 1, 7, 10 Annex 1, 12;
                                                     #54R [DEFS-MPT0002624-DEFS-MPT0002634] at 1, 6, 7, 9; #74R [DEFS-MPT0002740-DEFS-
                                                     MPT0002751] at 1, 3, 5, 6, 7, 11; #103R [DEFS-MPT0002935-DEFS-MPT0002971] at 3, 11, 3 of
                                                     Annex 4; #317R [DEFS-MPT0004237-DEFS-MPT0004273] at 9, 11 Annex 1, 14 Annex 1, 25 Annex
                                                     5, 32-33
                                                x    Micke [DEFS-MPT0000635-1026 at DEFS-MPT0000641, DEFS-MPT0000684-DEFS-MPT0000688,
                                                     DEFS-MPT0000643, DEFS-MPT0000644, DEFS-MPT0000650, DEFS-MPT0000651, DEFS-


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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                               DISPLACEMENT MEASUREMENT AND ITS APPLICATION IN INTERFRAME IMAGE CODING, JAIN & JAIN,
4,958,226                                                                1981, DEFS-MPT0000325-334
CLAIM LANGUAGE                                                                                                   AND
                                                           US PATENT NO. 4,202,011, KOGA, DEC. 28, 1977, DEFS-MPT0001355-1362
                                                     MPT0000653, DEFS-MPT0000655, DEFS-MPT0000661-662, DEFS-MPT0000668, DEFS-
                                                     MPT0000669, DEFS-MPT0000729, DEFS-MPT0000797, DEFS-MPT0000805, DEFS-MPT0000756,
                                                     DEFS-MPT0000824, DEFS-MPT0000754-1024]
                                                x    Musmann et al. - Advances in Picture Coding 537-541 and 542-545 [DEFS-MPT0001027-1052]
                                                x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-DEFS-MPT0001208,
                                                     DEFS-MPT0001209-1210]
                                                x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-DEFS-MPT0007534;
                                                     DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-MPT0009244, 9305, 9304, 9244, 9306.
                                                x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-MPT0000031, 32.




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                                                          208
Defendants’ identification of structure is responsive to MPT’s infringement contentions and does not constitute an admission that MPT’s interpretation is correct or that the
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U.S. PATENT NO.                                                          JAPANESE LAID-OPEN PATENT PUBLICATION NO. SHO 53-82219
4,958,226                                                                                     JULY 20, 1978
CLAIM LANGUAGE                                                                   [DEFS-MPT0033815 - DEFS-MPT0033821]
                                                                       MPT0001027-1052]
                                                                  x    U.S. Patent No. 4,202,011 [DEFS-MPT0001355-1362 at DEFS-MPT0001357,
                                                                       DEFS-MPT0001359]
                                                                  x    PCS86 [DEFS-MPT0001190-DEFS-MPT0001210 at DEFS-MPT0001207-
                                                                       DEFS-MPT0001208, DEFS-MPT0001209-1210]
                                                                  x    Matsushita MPEG Submissions [DEFS-MPT0009237; DEFS-MPT0007533-
                                                                       DEFS-MPT0007534; DEFS-MPT0007310-DEFS-MPT0007311] at DEFS-
                                                                       MPT0009244, 9305, 9304, 9244, 9306.
                                                                  x    Sugiyama – Front/Rear Frame [DEFS-MPT0000026-36] at DEFS-
                                                                       MPT0000031, 32.




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                                                                                                                                                                  Exhibit 6
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